Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 1 of 63 Page ID #:15




                 Attachment A
  Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 2 of 63 Page ID #:16



                                                                      ‘ Wolters Kluwer
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                          PROCESS SERVER DELIVERY DETAILS




Date:                        Tue, Dec 14, 2021

Server Name:                 Ramiro Saucedo




Entity Served                ALITOZONE DEVELOPMENT LI-C

Case Number                  21CHCV00918

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               Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 3 of 63 Page ID #:17
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       NOTICE TO nEFENDANT:
       (AVIS° AL DEMANOADO):
        AUTOZONERS 11-C,a Limited Liability Company;ACJTOZONE
       DEVELOPMENT IIC,a irnite4 Liability Company; and DOES 1-50

         YOU ARE BEING SUED BY PLAINTIFF:
        (LO ESTA DEMANDANDO      DEMANOANTE):
          WHITNEY ALONDRA CHAELA,,an Individual; DIANA VEGA,an
          Ind;v idual

          NOTICE''roe nave been sued.the court may decide against you without your being heard -unless you respond within 30days. Read the information
          below.
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                                        Assigned for all purposes to: Chatsworth CoUrttiOue,t'lludicial Officer: Stephen Pfahler




                  Edgar Martirosyan, Esq.(SBN 260250)
                  Azniv Ksachikyan,.Esq.(SBN.200479)
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                  601 S. Glenoaks Blvd., Suite 201
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               4
                  Facsimile: (818) 528-8704
               5 Email: em@mpclegal.com
                 .Email: ak@mpclegal.com
               6
               7
                      Attorney for Plaintiffs,
               8      WHITNEY ALONDRA CHABELA and DIANA VEGA.

               9                                                                         !
                                                                                         . •
                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
              10               FOR THE COUNTY OF LOS ANGELES 7 CHATSWORTH COURTHOUSE
              11
              12
                      WHITNEY ALONDRA.CHABELA,an                                                Case No,:: 21C H CV 0091 8
              13      Individual; DIANA VEGA,an Individual                              )
             14
                                                                     COMPLAINT FOR DAMAGES:
                                                            )
             15                                             ) (1) HOSTILE
                                   Plaintiffs,                                 WORK ENVIRONMENT
            - 16                                                .• • SEXUAL HARASSMENT[CGC §
                                                                —    12940(j)]
             17                                             )" (2) FAILURE TO PREVENT
                      VS.
                                                            )        HARASSMENT[CGC § 12940(k)]
             18                                                43) INTENTIONAL INFLICTION OF
             19                                                      EMOTIONAL DISTRESS
                                                            ) (4) FAILURE TO PAY TIMELY WAGES
            20                                                      [LC § 204 AND IWC WAGE ORDERS]
                      AUTOZONERS LLC,a Limited Liability ,) • (5) FAILURE TO PAY COMPENSATION
            21        Company; AUTOZONE DEVELOPMENT )                DUE UPON TERMINATION I LC §§ 201
                      LLC, a Limited Liability Company; and          AND 203] •
            22                                              , • (6) FAILURE TO PROVIDE ACCURATE
                      DOES 1-50
                                                                     WAGE STATEMENTS [LC § 226]
            23
                                                            ) (7) FAILURE TO PROVIDE REST BREAK
                                                            ,
            24                                                      [LABOR CODE § 226.7 AND TWC
                                                                     WAGE ORDERS]
            25                                              ) (8) FAILURE TO PROVIDE MEAL BREAK
                                          Defendants.                                  )                  [LC.        226.7 AND 512, AND[WC
            26_                                                                                   •
                                                                                             WAGE.ORDERS]
                                                                                       ) (9) UNFAIR COMPETITION - BUSINESS
            27                                                                         ) , • AND'PROFESSIONS CODE § 17200
           .28                                                                         )
                                                                                                      ,
                                                                                                          [DEMAND,FOR JURY TRIAL]
                                                                                                                          + t




                                                                                                            :

                      COMPLAINT                                                                               •:: •
                                                                                                            :
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  1          NOW COME Plaintiffs WHITNEY ALONDRA CHABELA ("Plaintiff CHABELA")

 2    and DIANA VEGA ("Plaintiff VEGA")(hereinafter coIl&tively referred to as "PLAINTIFFS"),

 3    by and through their undersigned counsel, and for their Complaint against Defendants

 4    AutoZoners, LLC and Autozone Development LLC (hereinafter.referred to as "AUTOZONE")
                                                                    • .,.a.
 5    and DOES 1-50, inclusive (hereinafter collectively referred,t9.as."DEFENDANTS")and alleges
                                                                •,
 6    as follows:

 7                                    JURISDICTION AND VENUE
             1.      The Court has personal jurisdiction over the DEFENDANTS because they are
 8
      residents of and/or do business in the State of California, County of Los Angeles.
 9
             2.      Venue is proper in this county in accordance with Section 395(a) of California
10
      Code of Civil Procedure because DEFENDANTS reside and/or maintain offices and transact
11
      business within Los Angeles County, because DEFENDANTS' obligations and liability arise
12
      therein, and because the work that is the subject of this action was performed by PLAINTIFFS
13
      and their claims/damages alleged herein occurred and/or aro,§e•in Los Angeles County.
14
                                              THE PARTIES -
15
             3.      Plaintiff CHABELA is an individual who at all relevant times mentioned herein
16
      resided in the County of Los Angeles, State of California, and was employed by
17
      DEFENDANTS.
18
             4.      Plaintiff VEGA is an individual who at all relevan.t times mentioned herein.
19
      resided in the County of Los Angeles, State of California, and-Was employed by
-)0
      DEFENDANTS.
                                                         . .      .
21
             5.     PLAINTIFFS are informed and believe and thereupon allege that AUTOZONE
22
      was at all times relevant herein doing business in the County of Los Angeles at 13200 Osborne
23    St., Pacoima, California 91331, Plaintiffs' place of employment..
24           6.      At all times relevant herein, DEPENDANTS were PLAINTIFFS' employers,
25    joint employers and/or special employers withifi the-Meaning of the Labor Code and Industrial
26                                                                    ,‘
      Welfare Commission.Order-Nos. 7-2001-("IWC-Wage Orders' andare each-an-"employer or —
                                                                 ,    „
27    other person acting on behalf of an employer" as such tennis used in Labor Code Section 558,
.)8   and liable to PLAINTIFFS on that basis.



      COMPLAINT
                                                       2


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 1          7.      The true names and capacities, whether individual, corporate, associate, or

 2   otherwise, of the DEFENDANTS named herein as DOES 1-50, inclusive, are unknown to

3    PLAINTIFFS at this time and therefore said Defendants are sued by such fictitious names.

4    PLAINTIFFS will seek leave of Court to amend this Complaint to insert the true names and

5    capacities of said DEFENDANTS when the same become known to PLAINTIFFS.

6    PLAINTIFFS are informed and believe and thereupon allege that each ofthe DEFENDANTS

7    designated herein as a DOE is legally responsible in some manner for the events and happenings
     herein referred to, and negligently, wantonly, recklessly, tortuously and/or unlawfully
 8
     proximately caused the injuries and damages thereby to PLAINTIFFS as herein alleged.
            8.      PLAINTIFFS are informed and believe and thereupon allege that
10
     DEFENDANTS,and each of them, including those defendants named as DOES 1-50, acted in
11
     concert with one another to commit the wrongful acts alleged herein, and aided, abetted, incited,
12
     compelled and/or coerced one another in the wrongful acts alleged herein, and/or attempted to do
13                                                            ..
     so, including pursuant to Government Code §12940 et seq. PLAINTIFFS are further informed
14
     and believe and thereupon allege that DEFENDANTS,and each of them, including those
15
     defendants named as DOES 1-50, and each of them,formed and executed a conspiracy or
16
     common plan pursuant to which they would commit the unlawful acts alleged herein, with all
17
     such acts alleged herein done as part of and pursuant to said conspiracy, intended to cause and
18
     actually causing PLAINTIFFS harm.
19
            9.      Whenever and wherever reference is inade to any act or failure to act by a
20
     Defendant or co-Defendant, such allegations and references shall also be deemed to mean the
21
     acts and/or failures to act by each Defendant acting individually,jointly and severally.
22
            10.     At all times herein mentioned, DEFENDANTS existed under the laws ofthe State
23   of California, and at all times herein mentioned were authorized to do business in California.
/4           1 1.   The conduct complained of herein was ratified in the County of Los Angeles,
25   State of California.
26                          EXHAUSTION OF ADMINISTRATIVE REMEDIES
27          12.     On or about September 21, 2021, Plaintiff CHABELA filed timely charges of
28   discrimination and retaliation with the California Department of pair Employment and Housing



     COMPLAINT



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  1   ("DFEH")against AUTOZONE. On or about September 22, 2021, the DFEH issued Plaintiff A

 2    Notice of Case Closure and Right to Sue letter.

 3           13.     On or about September 21, 2021, Plaintiff VEGA'filed timely charges of

 4    discrimination and retaliation with the California Department of Fair Employment and Housing

  5 ("DFEH")against AUTOZONE. On or about September 22, 2021, the DFEH issued Plaintiff A
 6    Notice of Case Closure and Right to Sue letter:

  7               GENERAL ALLEGATIONS REGARDING SEXUAL HARASSMENT
             14.     PLAINTIFFS allege upon information and belief that at all times relevant herein,
 8
      Defendant AUTOZONE was in the business of selling and distributing auto-parts throughout Los
 9
      Angeles County.
 10
             1 5.    Plaintiff CHABELA was employed by AUTOZONE from January 27, 2021, to
 11
      August 30, 2021. Plaintiff CHABELA was a hired .as a Commercial Driver (also known as a
 12
      "Red Shirt") in the Commercial Department of AUTOZONE. Employees who worked in the
 13
      Commercial Department worked with AUTOZONE's customers who had commercial accounts
 14
      with the company. As a Driver, Plaintiff CHABELA was required to deliver auto-parts to these
 15
      customers. Thereafter, she became a Commercial Specialist. As a Commercial Specialist, she
 16
      was required to deliver parts, interface, assist and sell products to commercial customer clients.
 17
             16.     Plaintiff VEGA was employed by DEFENDANT AUTOZONE from sometime in
 18
      2020, to August 17, 2021. Plaintiff VEGA was hired to work in the front of the store as a parts
 19
      salesperson where she dealt with non-commercial cuStomers. Plaintiff VEGA also assisted the
20
      Commercial Department with the commercial customers as she understood that side of the
21
      business.
22
             17.     In or about February 2021,PLAINTIFFS were continuously subjected to a hostile
23    work environment perpetrated by an AUTOZONE commercial client("CLIENT").
24    PLAINTIFFS were repeatedly sexually harassed by the CLIENT.
25           1 8.    CLIENT engaged in hostile, demeaning and sexually abusive conduct such that
.26 _ PLAINTIFFSLworking-conditions were significantly-altered:- —

27           19.     The harassment consisted of numerous events which took place throughout
28    PLAINTIFFS' employment. By way of example, between February 2021 until the



      COMPLAINT



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   1   PLAINTIFFS' separation of employment, CLIENT made unwanted sexual advances towards

  2    PLAINTIFFS both verbally and physically. CLIENT would frequent PLAINTIFFS' place of

  3    employment several times a week(sometimes more than once a day). He would get physically

  4    close to PLAINTIFFS. He would sniff their hair and bodies, tell-them he liked them and

  5    compliment their physical attributes. CLIENT.would bring gifts for PLAINTIFFS. On a certain

  6    occasion, CLIENT touched Plaintiff CHABELA's body by grabbing her and touching her body

  7    in the store. This incident was witnessed by third parties in the store. CLIENT also sent
       numerous videos and photographs of himself in the nude and in the shower (namely, his fully
  8
       erect penis) to Plaintiff CHABELA. CLIENT bombarded Plaintiff CHABELA with text
  9
       messages that were grotesque and sexual in nature. On numerous occasions CLIENT told
  10
       CHABELA that he was in love with her and continuously asked if she loved him. On another
  11
       occasion, CLIENT attempted to massage and grabbed Plaintiff VEGA at the store while she was
 12
       assisting in the Commercial Department. This incident was also witnessed by others in the store.
  13
              20.     The above-described conduct was open, obvious and notorious as the Commercial
 14
       Department has an open floor plan. All employees work on a single counter and the supervisor
  15
       is also located in that area. Any and all activity in that area is visible to all employees and
 16
       customers in the area.
  17
              21.     Plaintiff CHABELA was also required by her direct managers/supervisors in the
 18
       Commercial Department to deliver auto parts to CLIENT's home. Each time she made a
 19
       delivery to the CLIENT's home she was subjected to sexually harassing conduct by CLIENT.
 20
       Despite expressing her concerns and requesting that she not deliver to CLIENT's home, she was
 21
       repeatedly told it was her job to do so and constantly sent back to CLIENT's home with
 22
       deliveries.
 23           22.     PLAINTIFFS did not share the CLIENT's feelings or advances. PLAINTIFFS
 24    responded to CLIENTS advances and inappropriate comments by informing him that his conduct
 25    was inappropriate and unwelcome, yet he contin-ued.to harass them.
--26     — 237 --BetWeen'March=August2021,theabovedescribed edndtiet by CLIENT-Was-
 27    brought to AUTOZONE's attention in. a number of instances. PLAINITFFS notified the
                                                    .                 .
 28    commercial managers; the Store Manager, the District Manager, and Human Resources



       COMPLAINT



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 I    Department about CLIENT's harassing, inappropriate and offensive conduct. PLAINTIFFS

 2    complained on numerous occasions. Plaintiff CHABELA notified her direct

 3    managers/supervisors about the fact that she did not Want to make deliveries to CLIENT's home

 4    and that she felt unsafe and uncomfortable doing so. Irrespective, the CLIENT's behavior was

 5    so open and notorious that the above-referenced individuals themselves witnessed CLIENT's

 6    sexually harassing behavior, including other AUTOZONE customers.

 7            24.    Defendant AUTOZONE failed to investigate and address above-referenced issues
      in a proper and timely manner. In fact, at one-point PLAINTIFFS were told by one of the
 8
      commercial managers that it was PLAINTIFFS' fault that the CLIENT was sexually harassing
 9
      them.
10
              25. Plaintiff CHABELA began to experience post traumatic stress as a result of
11                                                          :
      CLIENT's conduct. Plaintiff CHABELA asked for a transfer,to a different location, but was told
12
      by the District Manager that if he transferred she would be demoted with a pay cut. Plaintiff
13
      CHABELA also requested a short leave of absence to deal with the emotional distress and
14                                                         ,
      anxiety she was experiencing as a result of CLIENT's condu-ct and AUTOZONE's failure to
15
      address the issue but AUTOZONE denied her request.
16
              26.   PLAINTIFF CHABELA was eventual.ly transferred to a different location, but
17
      soon realized that she was being referred to as the girl Who had been transferred because she was
18
      molested. These characterizations were a further emotional trigger for her. Ultimately, she was
19
      forced to quit her position on August 30, 2021..
?0
              27.   As a result ofthe aforementioned conduct of DEFENDANTS,PLAINTIFFS have
21                                                 • •, ,;,, •
      suffered damages in an amount to be determined at trial. lAs a further result of the
22
      aforementioned conduct of DEFENDANTS,Plaintiffs have suffered emotional distress, anxiety,
                                                          ,
23    sleeplessness, and embarrassment.
24
-)5

26    ///
27

28



      COMPLAINT
                                                    •    6'


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 1          GENERAL ALLEGATIONS REGARDING WAGE AND HOUR VIOLATIONS

 2            28.    At all relevant times herein PLAINTIFF CHABELA was employed by

 3     DEFENDANT AUTOZONE as a Commercial Driver and/or Commercial Specialist.

 4            29.    At all times relevant herein mentioned Plaintiff CHABELA was a nonexempt

 5    full-time hourly employees within the meaning of the California Labor Code ("Labor Code")and

 6     i mplementing rules and regulations of the 1WC Wage Orders

 7            30.    Plaintiff CHABELA is informed and believes and thereupon alleges that that at al
       times during her employment with Defendants, all of the hours worked by her were "hours
 8
       worked" as defined by the IWC Wage Orders.
 9
              31.      Throughout her employment,Plaintiff CHABELA was not encouraged to take
10
       her regular lunch breaks. For example, Plaintiff CHABELA would clock out for lunch but be
11
       required to work through her lunch break, all with the knowledge'of her supervisors. Plaintiff
12
       CHABELA was neither compensated for any work performed during interrupted lunch breaks
13
       nor allowed to take an additional break to make up for the missed time.
14
              32.    Throughout her respective employments, Plaintiff CHABELA was not
15
       encouraged to take her regular rest breaks. Additionally, When'Plaintiff CHABELA took a rest
16
       break she was regularly interrupted by. DEFENDANTS during her breaks. Plaintiff CHABELA
17
       was not permitted to take an additional break to make up for the missed time.
18
              33.    Since Plaintiff CHABEL.A.'s separation of employment, DEFENDANTS have
19 •
       failed to pay Plaintiff CHABELA for all of the.hours she worked. Moreover, DEFENDANTS
20
       have failed to pay Plaintiff CHABELA additional wages for the interrupted meal and rest
21
       periods. Plaintiff CHABELA has been available and ready to receive wages owed to her.
22
              34.    DEFENDANTS further failed to provide Plaintiff CHABELA with accurate
23     itemized statements showing all applicable gross wages earned, and the corresponding number o
,̀4    hours worked by her.
25    ///
26    ///
27    ///
28    ///



       COMPLAINT



                                                                         Attachment A - Page 000022
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                                   FIRST CAUSE OF ACTION
 I
                  HOSTILE WORK ENVIRONMENT - SEXUAL HARASSMENT
2                             (FEHA - Cal. Govt. Code §1.2940(j)) •
                    (By All Plaintiffs Against All Defendants And DOES 1-50)
3
4           35.     PLAINTIFFS incorporate by reference the factual allegations of paragraphs 1
5    through 28 above.

6           36.     The above-referenced conduct by CLIENT was unwelcome, directed towards

7    PLAINTIFFS, and was part of an ongoing and continuing pattern of conduct.

8           37.     The above-referenced conduct caused PLAINTIFFS to perceive their work

9    environment as intimidating, hostile, abusive and/or offensive.

10          38.     Complaints and/or information about the harassing conduct were made to

11   DEFENDANTS by PLAINITFFS, but the harassment continued.
            39.     As a further result of CLIENTS' and DEFENDANTS' actions, PLAINTIFFS
12
     suffered emotional distress, resulting in damages to be. proven at,trial:
13
            40.     The above-referenced harassing conduct violates California Government Code §§
14
     1 2940 et. seq. and California public policy and entitles PLAINTIFFS to all categories of
15
     damages.
16
            41.     As a result of DEFENDANTS' and each of their actions, PLATNITFTS sustained
17                                                       `

     economic damages to be proven at trial.
18
            42.     DEFENDANTS' acts were malicious, oppressive or fraudulent with intent to vex,
[9
     injure, annoy, humiliate and embarrass PLAINTIFFS, and in conscious disregard of the rights or
20
     safety ofPLAINTIFFS. Accordingly, PLAINTIFFS are entitled lo recover punitive damages
21                                                 • 4

     from DEFENDANTS.
22
            43.     By reason of the conduct of CLIENT and DEFENDANTS as alleged herein,
23
     PLAINTIFFS have necessarily retained attorneys to prOsecute the within action. PLAINTIFFS
24
     are therefore entitled to reasonable attorney's fees and litigation expenses, including expert
25
     witness fees and costs, incurred in bringing the within action.
26
     II/
27   ///
28   /II



     COMPLAINT



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                                    SECOND CAUSE OF ACTION
                              FAILURE TO PREVENT HARASSMENT
                                (FEHA - Cal. Govt. Code § 12940(k))
                      (By All Plaintiffs Against All Defendants AND DOES 1-50)
 3
 4           44.     PLAINTIFFS incorporate by reference the factual allegations of paragraphs 1

 5    through 43 above.

 6           45.     In violation of California Government Code § 12940 et seq., DEFENDANTS,and

 7    each of them, failed to take all reasonable steps necessary to prevent harassment against

 8    PLAINTIFFS.

 9           46.     In perpetrating the above-described conduct, DEFENDANTS engaged in a

10    pattern, practice, policy and custom of harassment. Said conduct on the part of DEFENDANTS

11    constituted a policy, practice, tradition, custom and usage which denied Plaintiff protection of
      California Government Code § 12940 et seq.
12
             47.     At all relevant time periods, DEFENDANTS,and each of them, failed to make an
13
      adequate response and investigation into the conduct of CLIENT and PLAINTIFFS direct
14
      managers/supervisors and the aforesaid pattern and practice, and thereby established a policy,
15
      custom, practice or usage within the organization of DEFENDANTS, which condoned,
16                                                            .    . .
      encouraged, tolerated, sanctioned, ratified, approved of, and/or acquiesced in harassment towards
17
      PLAINTIFFS.
18
             48.     DEFENDANTS,and each of them, knew or reasonably should have known that
19
      the failure to take proper steps to prevent the sexual harassment by CLIENT would result in
20
      further harassment to PLAINTIFFS.
21
             49.     The failure of DEFENDANTS,and each of them, to take adequate steps to
.22
      prevent the sexual harassment ofPLAINITFFS constituted deliberate indifference to the rights of
23
      employees, including but not limited to those ofPLAINTIFFS, under California Government
24
      Code § 12940 et seq.
25
             50.     DEFENDANTS did not have adequate harassment policy and did not provide
26
      adequate sexual harassment training with respect to their employees and managers.
27           51.     DEFENDANTS knew or reasonably should have known that the failure to
28    provide adequate education, training, and information as to their personnel policies and practices



      COMPLAINT
                                                        9


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 1    regarding sexual harassment, would result in sexuatharassment'against,employee including but
                                                        "
      not limited to PLAINTIFFS.

 3           52.     The failure of DEFENDANTS to provide any or adequate education, training, and

 4    information to personnel concerning policies and.practices regardinisexual harassment

 5    constituted deliberate indifference to the rights of employees, including but not limited to those

 6    ofPLAINTIFFS, under California Government Code § 12940 et.eq.

 7           53.     As a result of CLIENT'S and DEFENDANTS'and each of their actions,
      PLAINTIFFS sustained economic damages to be proven at trial.
 8
             54.     As a further result of CLIENT's and DEFENDANTS' and each of their actions,
 9
      PLAINTIFFS suffered emotional distress, resulting in damages to be proven at trial.
10
             55.     The conduct of CLIENT and DEFENDANTS as described herein was malicious,
11
      and/or oppressive, and done with a willful and.conscious'di's'iegai'd for PLAINTIFFS' rights.
12
      Consequently, PLAINTIFFS are entitled to punitive damages.
13
             56.     By reason of the conduct of CLIENT and DEFENDANTS and each of them as
14
      alleged herein, PLAINITFFS have necessarily retained attorneys to prosecute the within action.
15
      PLAINTIFFS therefore are entitled to reasonable attorney's fees'and litigation expenses,
16
      including expert witness fees and costs, incurred in bnnging the within action.
-17                                                            t



18                                   THIRD CAUSE OF ACTION
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
19
                      (By All Plaintiffs Against All Defendants And DOES 1-50)
70
21           57.     PLAINTIFFS incorporate by reference the factual allegations set forth in

22    paragraphs 1 through 56 herein.

23           58.     PLAINTIFFS are informed and,believe andthereon allege that DEFENDANTS,
      by and through its principals, agents and employees conducted themselves unlawfully in
24
      violation of public policy and applicable law as described-above with conscious disregard ofthe
25
      result or outcome of such act. The unlawful conduct towards.PLAINTIFFS, due to its improper
26
                                                             ,   .
      motivations and surrounding circumstances constitute extreme and outrageous conduct by the
27
      DEFENDANTS,and each of them.
28



      COMPLAINT
                                                        10
                                                          ,

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 I          59.     Through the outrageous conduct described above, DEFENDANTS acted with the

 2   intent to cause, and with reckless disregard for the probability of causing PLAINTIFFS to suffer

 3   severe emotional distress.

4           60.     At all relevant times, DEFENDANTS had actual or constructive knowledge of the

 5   extreme and outrageous conduct described herein, and condoned,.ratified and participated in

6    such extreme and outrageous acts.

 7          61.     As a direct and proximate result of DEFENDANTS' willful, knowing and
     i ntentional acts, and DEFENDANTS'failure to act, PLAINTIFFS have suffered and will
     continue to suffer mental distress and anguish. PLAINTIFFS have suffered and will continue to
9
     -suffer a loss of earnings, and other employment benefits and job opportunities. PLAINTIFFS ar
10
     thereby entitled to general and compensatory damages in amount to be proven at trial.
11
12
                                   FOURTH CAUSE OF ACTION
13                             FAILURE TO PAY TIMELY WAGES
                            (Labor Code § 204 and IWC Wage Orders) •
14                 (By Plaintiff Chabela Against All'Defendants And DOES 1-50)
15                                                          ,t•
            62.     Plaintiff CHABELA incorporates by reference the factual.allegations set forth in
16
     paragraphs 1 through 61 herein.
17
            63.     Labor Code Section 204 states in pertinent part that all wages earned by any
18                                               .     : • • •    • -
     person in any employment are due and payable twice during each calendar month, on days
19
     designated in advance by the employer as the regular paydays.
20
            64.     IWC Wage Orders provide that "[e]very employer shall pay to each employee, on
21                                                   . • •



     the established payday for the period involved, not less than the applicable minimum wage for al
22
     hours worked in the payroll period, whether the remuneration is measured by time, piece,
93                                                           •
     commission, or otherwise."
24
            65.     DEFENDANTS have failed to pay'Plaintiff CHABELA for all hours she worked,
25
     especially because DEFENDANTS did not pay.Plaintiff CHABELA an additional hour of pay
26
     for their failure to provide uninterrupted meal periods and rest periods.
27          66.     Plaintiff CHABELA has been available and ready to receive wages owed to her at
18
     the time they became due.



     COMPLAINT



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            67.      DEFENDANTS' practice of not timely paying Plaintiff Chabela her wages earned

 2   is in violation. of Labor Code Section 204 and the IWC Wage Orders.

 3          68.      DEFENDANTS' acts taken towards Plaintiff CHABELA was carried out in a

 4   deliberate, cold, callous and intentional manner in order to injure and damage Plaintiff

 5   CHABELA and in- conscious disregard of the Labor Code. DEFENDANTS' conduct was willful

 6   because DEFENDANTS had knowledge of the 'illegality of failing to pay wages and still

 7   intentionally failed to timely make payment as required by law.
            69.      As a direct and proximate result of DEFENDANTS'failure to provide the
 8
     entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
 9
     employment in an amount to be proven at trial.
10
            70.      Plaintiff CHABELA demands judgment against DEFENDANTS as follows:(a)
11
     civil penalties pursuant to Labor Code Section 558(a);(b) for reasonable attorneys' fees and
12
     costs of suit pursuant to Labor Code Sections 1194(a) or 218.5 and/or 226(e);(c)interest on all
13                                                       • .r • •
     due and unpaid wages pursuant to Labor Code § 218.6; and (d) any other and further relief that
14
     the Court considers proper.
15
            71.      Plaintiff CHABELA also prays for the remedies provided by California Labor
16
     •Code Section 204 and rwc Wage Orders whereby the employer is to pay $50.00 for the initial
17
     violation and $100.00 for each subsequent violation.
18
19                                   FIFTH CAUSE OF ACTION
                  FAILURE TO PAY COMPENSATION DUE UPON TERMINATION
20
                                    (Labor Codes §§ 201 and 203)
21                  (By Plaintiff Chabela Against All Defendants And DOES 1-50)

22
            72.      Plaintiff CHABELA incorporates by reference the factual allegations set forth in
23
     paragraphs 1 through 71 herein.
24
            73.      Plaintiff CHABELA brings this cause of action based on the following statutes:
25
     Labor Code Section 201 states in pertinent part that TN an employer discharges an employee,
26
     the Wages earned and unpaid at the time of discharge are due and payable immediately."
27          74.      Labor Code Section 203(a) states in pertinent part that "[i]f an employer willfully
28   fails to pay, without abatement or reduction, in accordance with Sections 201, 201.3, 201.5,



     COMPLAINT



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       201.9, 202, and 205.5, any wages of an employee who is discharged or who quits, the wages of

 2     the employee shall continue as a penalty from the due date thereof at the same rate until paid or

 3     until an action therefore is commenced; but the wages shall not continue for more than 30 days."

 4            75.     Plaintiff CHABELA's employment with DEFENDANTS ended on or about

 5     August 30, 2021.

 6            76.     Plaintiff CHABELA was not paid for all hours worked throughout the duration of

 7     her employment with DEFENDANTS. DEFENDANTS failed to pay Plaintiff CHABELA, who
       is no longer employed by DEFENDANTS,compensation due upon termination in violation of
 8
       Labor Code § 201.
 9
              77.     Plaintiff CHABELA has been available and ready to receive wages owed to her.
10
              78.     DEFENDANTS acts taken towards Plaintiff CHABELA was carried out in a
11
       deliberate, cold, callous and intentional manner in order to injure-and damage Plaintiff
12                                                                        4 •.
       CHABELA and in conscious disregard of the Labor Code. DEFENDANTS' conduct was willrul
- 13                                                                • „
       because DEFENDANTS had knowledge of the illegality offailing to pay wages and still
14
       intentionally failed to make payment as required by law.
15
              79.     As a direct and proximate result of DEFENDANTS' failure to provide the
16
       entitlements set forth above, Plaintiff CHABELA has'suffered lost wages and other benefits of
1.7
       employment in an amount to be proven at trial..
18
              80.     As a direct and proximate result of DEFENDANT'S' conduct, Plaintiff
19
       CHABELA.suffered and continues to suffer general damages.
20
              81.     Plaintiff CHABELA demands judgment against Defendants and DOES 1 through
21
       50, inclusive, as follows:(a) general damages;(b)f' or reasonable attorneys' fees and costs of suit
22
       pursuant to Labor Code Sections 1194(a) or 218.5;(c) civil penalties pursuant to Labor Code
23     Section 558(a);(d) waiting time penalties pursuantto Labor Code Section 203;(e) interest on all
24     due and unpaid wages pursuant to Labor Code $ection 218.6; and (f) any other and further relief
.25    that the Court considers proper.
26          - 82.     Plaintiff CHABEL-A-also-prays-for,the-remediesprovided-by- ealifornia Labor
27     Code Section 204 and IWC Wage Orders whereby the employer is to pay $50.00 for the initial
28     violation and $100.00 for each subsequent violation.



       COMPLAINT
                                                         *-43


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                                 SIXTH CAUSE OF ACTION
            FAILURE TO PROVIDE ACCURATE WAGE AND HOUR STATEMENTS
                                 (Labor Code § 226, et seq.)
                (By Plaintiff Chabela Against All Defendants And DOES 1-50)
3
4           83.     Plaintiff CHABELA incorporates by reference the factual allegations set forth in
5    paragraphs 1 through 82 herein.

6           84.     Pursuant to Labor Code Sections 226, employers have a duty to provide their non-

 7   exempt employees with itemized statements showing total hours worked, hourly wages, gross

8    wages, total deductions and net wages earned. An employer who violates these code sections is

9    liable to employees for the greater of actual damages suffered by the employee, or $50.00 in civil

10   penalties for the initial pay period in which a violation occurred, and $100.00 per employee for

11   each subsequent pay period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code
     Section 226(e)(2), an employee is deemed to suffer injury for puriioses of this subdivision if the
11
     employer fails to provide a wage statement at all. •
13
            85.     In addition, pursuant to Labor Code Section 226.3, an employer who willfully
14
     violates Labor Code Section 226 is subject to a $250.00 civil penalty for the initial pay period in
15
     which a violation occurred, and $1,000.00 per employee for each subsequent pay period, with no
16
     maxim um.
17
            86.     At all relevant times herein, DEFENDANTS failed to provide Plaintiff
18
     CT-IABELA. with timely and accurate wage and hour statements showing gross wages earned,
19
     total hours worked, all deductions made, net wage's earned, the name and address of the legal
20
     entity employing Plaintiff CHABELA,and all applicable hours and rates in effect during each
21
     pay period and the corresponding number of hours worked at each hourly rate by Plaintiff
22                                                              „ •
     CHABELA. For the majority of the time and as to nearly all of her wages, knowingly and
23
     intentionally, not inadvertently, failed to provide Plaintiff CHABELA with accurate paystubs.
24
     Therefore, DEFENDANTS failed to comply with Labor Code Section 226, since Plaintiffs
25
     CHABELA received inaccurate paystubs without required information, including overtime hours
26   actually worked.
27          87.     As alleged herein, Plaintiff CHABELA was not exempt from the requirements of
28   Labor Code Section 226.



     'COMPLAINT
                                                        14


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 1            88.     This failure has injured Plaintiff CHABELA,by misrepresenting and depriving

 2     her of hour, wage, and earnings information to which she is entitled, causing her difficulty and

 3     expense in attempting to reconstruct time and pat records;causing her not to be paid wages she

 4     is entitled to, causing her to be unable to rely on earnings.statements in dealings with third

 5     parties, eviscerating their rights under Labor Code Section 226(b) to review itemized wage

 6     statement information by inspecting the employer's Underlying•records, and deceiving her

 7     regarding her entitlement to overtime, meal period, and rest period wages. For the time periods
       that Plaintiff CHABELA was not provided with paystubs at all, her aforementioned injuries are
 8
       presumed as a matter of law.
 9
              89.     Plaintiff CHABELA demands judgment against DEFENDANTS and DOES 1
10
       through 50, inclusive, as follows:(a) penalties in the amount of$50 for the initial pay period in
11
       which the violation occurred, plus $100 for each violation ina subsequent pay period, up to an
12                                                                    •
       aggregate penalty of $4,000 pursuant to Labor Code Section 226(e);(b)for reasonable attorneys'
13
       fees and costs of suit pursuant to Labor Code sections 226(e) and § 218.5;(c) civil penalties
14
       pursuant to Lab& Code Section 558(a);(d) waiting time penalties pursuant to Labor Code
15
       Section 203;(e) interest on all due and unpaid wages pursuant to Labor Code Section 218.6; and
16
      (I) any other and further relief that the Court cOnsiders proper.
17

1.8                                 SEVENTH CAUSE OF ACTION
                                FAILURE TO PROVIDE REST BREAK
19
                             (Labor Code § 226.7 and IWC Wage Orders)
)0                   (By Plaintiff Chabela Against AD Defendants And DOES 1-50)

21
22            90.     Plaintiff CHABELA incorporates by reference the:factual allegations set forth in

23     paragraphs 1 through 89 herein.
              91.     Under IWC Wage Orders, employers shall,au' thorize and permit all employees to
24
      .take rest periods, insofar as practicable, in the middle of each work period. The rest period shall
25
       be based on the total hours worked daily and must be at.the.minimum rate of-ten (10) minutes net
26
      reS-t time foreach four(4)hour work period, or major fraction thereof. The Division of Labor
27
      Standards Enforcement(DLSE)considers anything more than two hours to be a "major fraction
28
                                                                •    •


      COMPLAINT


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 1    of four." Authorized rest period time shall be counted as hours worked for which there shall not

 2    be a deduction from wages.

 3           92.     Under Labor Code Section 226.7 (b), no employer shall require any employee to

 4    work during any meal or rest period mandated by an applicable order ofthe Industrial Welfare

 5    Commission.

 6           93.     Under Labor Code Section 226.7(. c), if an employer fails to provide an employee

 7    a rest period in accordance with the applicable provisions of an IWC Wage Order, an employer
      shall pay the employee one additional hour of pay at the employee's regular rate of
 8
      compensation for each work day that the rest period is not provided.
 9
             94.     Throughout her employment,Plaintiff CHABELA was not encouraged to take her
10
      regular rest breaks. Additionally, when Plaintiff CHABELA took a rest break she was regularly
11
      interrupted by DEFENDANTS during her break.
12
             95.     DEFENDANTS have failed to provide PlaintiffEHABELA with rest periods for
13
      every four hour work period or pay additional hour of wages for the rest period not provided.
14
      Plaintiff CHABELA has been available and ready to receive wages owed to her.
15
             96.      DEFENDANTS'failure to provide Plaintiff CHABELA with rest periods or,
16                                                           , • ,
      alternatively, pay one additional hour of wages per missed reSt break constituted a violation of
17
      the Labor Code Section 226.7 and the IWC Wage Orders.
18
             97.     DEFENDANTS'failure to provide Plaintiff C
                                                             . HABELA with rest periods was
19
      .willful because DEFENDANTS had knowledge of the illegality of failing to provide rest periods
20
      and still intentionally failed to do so as required by law.
.21
             98.     As a direct and proximate result of DEFENDANTS'failure to provide the
22
      entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
23    employment in an amount to be proven at trial.
24           99.     Plaintiff CHABELA demands judgment against DEFENDANTS as follows:(a)
25    additional pay for rest periods not provided, pursuant to Labor Code Section 226.7(c) and IWC
26    Wage Orders;(b)for reasonable attorneys' fees and costs of suit pursuant to Labor Code Sectiiiii
27    218.5;(c) civil penalties pursuant to Labor Code Section 558(a);(d) interest on all due and
28    unpaid wages pursuant to Labor Code Section 218.6; and (e) any other and further relief that



      COMPLAINT
                                                        . 16


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 1    Plaintiff CHABELA is entitled to and/or the Court considers proper.

 2
                                       EIGHTH CAUSE OF ACTION
 3                               FAILURE TO PROVIDE MEAL BREAK
 4                       (Labor Code §§ 226.7 and 512 and IWC Wage Orders)
                       (By Plaintiff Chabela Against All Defendants And DOES 1-50)
 5

 6            100.      Plaintiff CHABELA re-alleges and incorporates by reference Paragraphs 1

 7     through 99, inclusive, as though set forth in full herein.'

 8             101.     Under Labor Code Section 512(a), an employer may not employ an employee for

 9    a work period of more than five(5)hours per day without providing the employee with a meal

10     period of not less than thirty(30) minutes, and an employer may not employ an employee for a

11     work period of more than ten (10) hours per day without providing the employee with a second
       meal period of not less than thirty(30) minutes. If the total hours worked is no More than twelve
12
      (12) hours, the second meal period may be waived by mutual,consent Ofthe employer and the
13
                                                           ' • • .1,, :01
       employee only if the first meal-period was not WaiVed. •       •
14
               102.     Under the IWC Wage Orders, employers must authorize and permit all employees
15
      to take a meal period of not less than thirty (30) minutes after each work period of not more than
16
       five(5) hours.
17
               1.03.    Under Labor Code § 226.7(b), no employer shall require any employee to work
18
      during any meal or rest period mandated by an applicable order of the Industrial Welfare
19
      Commission.
-)0
               104.     Under Labor Code § 226.7(c), if an employer fails to provide an employee a meal.
21
      period in accordance with the applicable provisions of I'VC/C Wage Orders, an employer shall pay
22
      the employee one additional hour of pay at the employee's regular rate of compensation for each
23
       work day that the meal period is not provided.— -
24
               105.     The IWC Wage Orders provide that an employer shall authorize and permit an
25
      employee to take a thirty(30) minute meal period after five(5)hours of work wherein the
26
      employee is completely relieved of all duty, or to,pay an hour of wages under IWC Wage Orders
27     per meal period missed.
-)8



      COMPLAINT
                                                           17

                                                                       '

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 1           106.     The IWC Wage Orders require employers to maintain records documenting its

 2   employees' meal periods, and California Industrial Welfare Commission Wage Order 1-2001(7)

 3    which provides the same.

 4           107.     At all relevant times stated herein, Plaintiff CHABELA was not encouraged and

 5   was regularly interrupted during her lunch breaks by DEFENDANTS. For example, Plaintiff

 6   CHABELA was ordered to perform work related tasks during her meal breaks. .Plaintiff

 7   CHABELA would clock out during lunch but was instructed by her managers to work through
     the meal break. Plaintiff CHABELA was neither compensated for any work performed during
 8
     'interrupted lunch breaks nor allowed to take an additional break to make up for the missed time.
 9
             108.     Plaintiff CHABELA is still owed these wages for missed meal periods.
10
     Accordingly, DEFENDANTS violated the statutes and regulations enumerated above.
11
             109.     DEFENDANTS'failure to provide Plaintiff CHABELA with meal periods was
12
     willful because DEFENDANTS had knowledge of the illegality of failing to provide meal
13
     periods and still intentionally failed to do so as required by law.
14                                                         .   . .      •
            1 10. As a direct and proximate result of DEFENDAN'TS' failure. to provide the
15
     entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
16
     employment in an amount to be proven at trial.
17
             i ll..   Plaintiff CHABELA demands judgment against DEFENDANTS as follows:(a)
18
     additional pay for meal periods not provided, pursuant to Labor Code Section 226.7(c) and the
19                                                            . .
     applicable IWC Wage Orders;(b)for reasonable attorneys' fees and exists of suit pursuant to
20
     Labor Code Section 218.5;(c)civil penalties pursuant to Labor Code Section 558(a);(d) waiting
21
     time penalties pursuant to Labor Code § 203;(e)interest On all due and unpaid wages pursuant to
22                                                                    •   I
     Labor Code Section 218.6; and (f) any other and further relief that the Court considers proper.
23           1 12.    Plaintiff CHABELA also prays for penalties pursuant to the IWC Wage Orders
24   which state that in addition to any other penalties that may exist, the employer and person acting
25   on behalf of the employer are subject to a civil penalty of 550.06 for the initial violation and
26   $100.00-for-all-subsequent-violations of-underpaying-employee-for each-pay-period-the-employee
27   was underpaid, and the affected employee shall receive payment of all wages recovered.
28



     COMPLAINT
                                                        18'


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                                         NINTH CAUSE OF ACTION
 1
                                          UNFAIR COMPETITION
                                (Business and Professions Ccide § 17200, et seq.)
                        (By Plaintiff CHABELA Against All:Defendauts And DOES 1-50)
 3
 4           1 13.        Plaintiff CHABELA re-alleges and incorporates by reference Paragraphs 1
 5    through 112, inclusive, as though set forth in full herein, as though set forth in full herein except

 6    where to do so would be inconsistent with pleading a cause of action for 'Unfair Competition in

 7    Violation ofBusiness and Professions Code §17200, et seq.

 8           1 14.        DEFENDANTS' violations of the applicable provisions of the Labor Code and

 9    IWC Orders, as alleged herein, including, but not limited to, DEFENDANTS'failure to provide

10    rest and meal breaks, DEFENDANTS'failure to provide timely and accurate wage and hour

11    statements, DEFENDANTS' failure to pay compensation due in a timely manner upon
                                                                  ,
      termination, and DEFENDANTS' failure to maintain' c'orri lete and accurate payroll records for
12
      the Plaintiff CHABELA constitute unfair business'practices in.violation of Business and
13
      Professions Code Sectionl 7200, et seq.
              1 15.       As a result of DEFENDANTS' unfair buSine'ss'practices, DEFENDANTS have
15
      reaped unfair benefits and illegal profits at the expense of Plaintitf CHABELA and members of
16
      the public. DEFENDANTS should be made to disgorge their ill-gotten gains and restore such
17
      monies to Plaintiff CHABELA.
18
              1. 1.6.     DEFENDANTS' unfair business practices entitle Plaintiff CHA.BELA to seek
      preliminary and permanent injunctive relief, including but not limited to orders that the
20
      DE.FENDANTS account for, disgorge, and restore to Plaintiff CHABELA the monies and
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      benefits unlawfully withheld from her.
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      COMPLAINT



                                                                            Attachment A - Page 000034
 Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 23 of 63 Page ID #:37




 I                                      PRAYER FOR RELIEF

 2          WHEREFORE,PLAINTIFFS pray for relief as follows:

 3          1.     For general damages of approximately $2,500,000.00 against all DEFENDANTS;

 4          2.     For special damages of approximately $500,000.00 against all DEFENDANTS;

 5          3.     For punitive damages of approximately $2,500,000.00;

 6          4.     For attorneys' fees as provided by law;

 7          5.     For prejudgment, post-judgment and other interest as provided by law;
            6.     For cost of suit incurred herein; and
 8
            7.     For such other and further relief as the Court deems fair and just.
 9
10
      Dated: December 1, 2021                    MARTIROSYAN P.C.
11
12
13                                               is/Edgar yartirosyan
                                                 Edgar Martirosyan, Esq.
14                                                A2niv Ksachilcyan„ Esq.
15                                                Attorneys forYlaintiffs,
                                                  WHITNEY ALONDRA CHABELA and
16                                               DIANA VEGA
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      COMPLAINT
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                                                                        Attachment A - Page 000035
 Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 24 of 63 Page ID #:38




                                     DEMAND FOR JURY TRIAL
1
            Plaintiffs hereby demand a trial by jury On all claims.

3
4
      Dated: December 1, 2021                     MARTIROSYAN P.C.
5
6
                                                  /s/Edgar Martirosyan
7
                                                  Edgar Martirosyan, Esq.
8                                                 Azniv Ksachilcyan, Esq.
                                                  Attorneys for Plaintiffs,
9                                                 WHITNEY A.LONDRA CHA.BELA and
10                                                 DIANA VEGA

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      COMPLAINT
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                                                                      Attachment A - Page 000036
               Case
tlectronmaiiy EILED     2:22-cv-00280-GW-AS
                    by Superior                                     Document
                                Court of California, County of Los Angeles           1-1 Filed 01/13/22
                                                                           on 12/02/20iligierMacigtri                 Page
                                                                                                      R. Carter, Executive      25 ofof63
                                                                                                                           Officer/Clerk        Page
                                                                                                                                         Court, by        ID #:39Clerk
                                                                                                                                                   M. Vargas,Deputy
                                                                                                                                                                                    _
                                                                                                                                                                     CM0jQ
                                                                   earamber.tod etlaita):                                               F09.CQL/RT UUmt-

            MARTIROSYkac.
            601 S. Gienoaks Blvd. Suite 200
                                              .........
            Burbank, CA,91505
                TELEPHONE NO 818-528-8700              fAx   818-5284704
           ATTORNEY FOR(Mx*. Plaintiffs: Whitn.ey•Chabela•and Diana Vega
         SUPERIOR COURT OF CAUPORNIA.enempf OF LOS ANGELES
                   STREET ADDRESS: 9425 Penfield             Ave.
                   mxtumerkoortess 9425 Penfield Ave.
               CITY ANO        GOOE        Chatsworth, CA 91311
                     BRANCH NAME:          C'hatsworth Courthouse
            CASE NAME:                                                                 •
            CliAl3ELA,et al. v.AUTOZONERS LLC,et al.
                                                                                                                        CASE NUMBER
          CIVIL CASE COVER SHEET                                                Complex Case Designation
         11 Unlimited  ED Limited                                                                                         21 CHCA10091 8
           (Amount        (Amount                                          ED Counter 0 Joinder
                                                                                                                         JOCGE:
                    demanded                       demanded is             Filed with first appearance by defendant
                    exceeds $25,000)               $25,000 or less)           (Cal. Rules of Court, rule 3.402)           sem:
                                        Items 1-8 be ow must be completed(see instructions on page 2).
          1. Check one box below for the case type that bestdescribes this MSC
             Auto Tort                                   Contract                          Provisionalfy Complex Civil Litigation
                                                           I:3 Breach ef contriadAvairenty(09) (Cal. Ruh* of Court,run* 34004.403)
              pi    Auto(22)
                    Uninsured metonst(46)
              Other PUPD/WO(Personal itiltey/Pioperty
                                                           ED    Rule 3,740 collections(09)
                                                          .= Other collections(09)
                                                                                               0Anbaust/Trede regulation(03)
                                                                                               ED Construction defect(10)
              Damegialrironalui Cseeth)Tort                = Insurance coverage(18)            El Mass tort(40)
             El Asbestos(04)                               (D:1 O• ther contract(3                                 fl
                                                                                                      Sea-titles litigation (28)

             E      Product liability(24)
                    Medical malpractice PIO
            • CD Other PI/POANO(23)
                                                           Reel Property
                                                           =1 Etrille-ht domain/Inverse
                                                                 condemnation(14)
                                                                                               ED Environitiontelftotc tort(30)
                                                                                             - = insurance coverage claims arising from the
                                                                                                      above listed provisionally complex case
              Non-PI/POMO(Other Tort                                    r--1
                                                                 Wrongful eviction(33)                types(41)                             .
             El Busines tort/unfair busiriess practice(07).fl Other.real PmPetti(26) -         Enforcement of Judgment
              ED CM lights(08)                             Unlawful Detainer                   ED EnforcementofJudgment(20)

             E      Defamation (13)
                 Fraud(16)
             L . inteilectual property(19)
                                                           El C• ommercial(31),
                                                                        ED Residential(32)
                                                                        n Drugs(38) — 's
                                                                                               allecelleneous Cspiti Complaint
                                                                                                                     = RICO(27)
                                                                                                                 u . ED Other complaint(not specified Mow)(42)
             LL1 Professional negligence(26)                            Judicial Review                         "' ' MiSC0141160US CM Petftlon              ,
             ED Other non-Pi/PO/WD tort(36)                             ED Asset forfeitum(05) • , , - - = Partnership and corporate governance (21)
             Employment                                                 F.—) P• etition re: arbitration.aWar6.1.01)'0other petition (not specified above)(43)
             L.,,.<j Wrongful termination(36)
                                                                                                                   .
                                                                                                                              „
                                                                               Writ oi mandate,(02).. _ -2 . • • • 'i• • •
             El Other employment(16)                         1-1 Other judicied review(39) .
         2. This case 1.....J. is    [Li Is not complex under rule 3.400 of the California Rulaiof Court. If the case is complex, mark the
             factors'requiring exceptional judicial management:'                 - ,• -
             a.El L• arge number of separately represented parties            d:_ED Large number ef ,Witnesses_
             b.    r--1
                      E• xtensive motion practice raising difficult or novel e..E, 3Coordination With related actions pending in one or more courts
                      issues that will be time-consuming to resolve          . L - in other counties,'states, or countries,,or in a federal court
             c ED Subatantial eirount of docbmentary evidence
             .                                                                f.' ED Substantial pesUudgmentjudicial supervision
         3. Remedleis sought(check all that apply): e.Ell monetary                          b.E]nonmonetary; deolaratory or injunctive relief             c.171punitive
         4. Number of causes of aCtion (specify):
         5- This case ED is '[Z]Is riot a,dass action suit
         6. If there are any known related caseS, file and serves notice ofrelated case.(You M6y u
        Date; December 2,2021.. •
        EDGAR MART1ROSYAN,ESQ.                                                    ..            -    )
                                                                                                     h
                                            flYPE OR PRINT NAME1                                    /SIGNATURE OF PARTY OR ATTORNEY ratPA
                                                                               NOTICE.
          • Plaintiff must file this cover Sheet With the first paper filed in the action or proceeding (except small claims cases or cases filed
            under the Probate Code, Family Cede,or Welfare and Institutions Code).(Cal. Rules Of Court, rule $.220.) Failure to file may result
            in sanctions.
          * File this cover sheet In addition to any cover sheet required by local court rule..                   • "
          • If this case is complex under rule 3400 st Seq ofthe California'Rtfiris Of COOrt, you mustserve a copy of this cover Sheet on all
            other parties to the action or proo4idir.19.                               .••                          , _
                                                                                      .
                                                                                      ,
          • Unless this is a collections case under ride 3,740 or a complex case, MIS      • cover
                                                                                               .     .,„.will be used for statistiCel purposes onl
                                                                                                                                                                           1 ofZ
         For
           uitsc   od for MAniloalty                                                                                       Cat Rulos of Cow,ruts:2,10,1220,3.4004.403. 3.74a
              rCiounall    of Caltforrdo
           01,1410 Marv.July 4,20071
                                            '                          -CIVIL:CASE COVER SHEET ,                                               of.JtAkislAominicitotfon, Mn. 3.10
                                                                                                           •   "
                                                                                                                                                       • wiwomMiomow


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                                                                                             t•-, • • ."
                                                                                                                        Attachment A - Page 000037
     Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 26 of 63 Page ID #:40

                                                                                                                                                  CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers, If you are filing a .first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Cass Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers. Of Oases filed. You must complete items I through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the Ca$13 fits both a general and a mere speOffic type of case listed in item 1,
check the more specific one. Ifthe case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the iiist paper filed in a chill case may subject a party,
 its counsel, or both to sanctions under rules 2.30 arid 1220 of the California Ruica of Coat
To Parties in Rule 3.740 Collodion,. Casee. A "collections Cate under. rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of-Interest and attoreey's fees, arising from a transaction in
winch property, services,'or money wet acquired on credit. A collections case does not'include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property; (4);recovery of personal property, or (5) a prejudgment writ of
attathment. The identification of a case as a rule 3.740 collections case on this •torrri Means theta will be exempt from the general
time-for-service requirements. and Mee Management rules, uremia n defendantfifes e responsive pleading: , A rule 3.740 oollettions,
case will be subjectto the requirements for service and obtaining aJudgmentin rule 3.740.
To Parties In Complex Cases, In complex eases ditty, parties trustelso use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3,400 of the California Rules of Crain, this must be indicated by
completing the apriroariate boxes,in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all patties to the actien,,- A. defendant may file and serve no later than the time of its firet appearance a joinder in the
plaintiffs designation, a CoUnter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
Auto tort                                        Contract                                                 • Provisionally Complex Civil Litigation(Cat
      Auto(22)-Personal injury/Property              Breach of ConiractiWarranty(0(5)                       Rules ofCourt Rules 3.400-3-403)
           DantiogettAtiongrui Oast                       Smartt of rtantel/Lease                                Antibust/Tradc Regulation(03)
      Uninsured Motorist(48)(ifthe                            Contrsa(hor ortleivflor detainer                   Construction Dcfbot.(10)
           cAtre lnediveien uninsosed                             or wrongful eviction)                          Claims involving Maas Tort(40)
          ..motonst clehn subject to                      ContractiWarranty Breach-Selier"                       Securities Litigation(26)
            hthltraticirt, chock thiv tem • .                 PigIriff(notaloud or negligence) -                 EmAronmontalltoxio Tort(aa)
           Ostend ofAuto).                                Negligent Breath of Contract/                          Insurance Coverage Cleitte
Other 1311POOND(Personal Injury/                              Warranty                                              ( arising from provisionally complex
Property DernagerliV.rengful Oseth)                       Other preach of CentrariAAlerrartly                        rase type listed above)(41)
Tort                                                 Coilectiona (e.g., money owed, open                     Enforcement of Judgment               •
      Asbestos(04)                                        bok accounts)(00)                                      Enforcement of Judgment(20)
           Asbestos Properly Damage                       Collection Caen-Seiler Plaintiff, •-                     • Abstract of Judgment(Outof
           Asbestos Personal injury/                     Other Promissory Note/Collections                                County)
                 VVrongful Death                              Case                                                   Confession ofJudgment(non-
      Prrxtuct Liability (not asbestOs or            insurance Coverage                                                   domestic itieliOn0
           toxidenvironment9(24)                         complex)(18)- 2,,                                           Slater State Judgment
      Modica' Malpractice fsci '                          Nita Suhroilatioli^ "'                     -               Adrninetrative Agency Award
           Medical Malpractice     -                      Other Cnverage                      .^1                      (not impaid taxes)          • -
                 physicians sr Stirgenna             Other Contract(37).                                             Petition/Certification of Erfiry of
           Other Professional Health-Care                 Contractual Fratid ,                                          Judgment on Unpaid Texas
                 Malpractice                              Other Contract plApi;; ,                                   Other Enforcement of Judgment
      Other PI/PDAND(23)                         Real Property        •,. • , „,                                 .        Case
           Prtmises Liability(e,g,; slip             Eminent Dorrialithrivatii                              'fAiscellentious Civil Complaint
           •     and fail)                               Condemnitt1iX,414p• • "                      .•7    " RICO(27)
           intentional Bodily Injury/PO/WO           Wrongful Eviction (33) •           •. • •                   Other Complaint(notspecified
                (e.g,. assault, vandalism)                                                                           above)(42)
                                                     Other Real Property (e.g., tiuiet ttle)(26)
           intentional infliction Of                     Writ of PosseWUrt Of.W.Flupertyr                      •     Declaratory Relief Only
                 Emotional Distress                       Mortgage ForeCiefiLlfe                                     Irv/um:dye Relief Only(non-
           Negligent Infliction of                                                                                        harassment)
                                                         Quiet Title                        ,                        Mechanics Lien
                 Emotional Distress                      Other Real Property inot eminent
           Other PI/PDAND "                              domain, kmdlorditenant, or                                - Omer Commercial Complaint
                                                                                                 -                        Case(non-tortMon-compkex)
Non-PUPDIWD(Other)Tort                                   foreclosure)           ,
                                                 Unlawful Detainer                           • -                     Other Civil Complaint
      Business Tort/Unfair Business                                                                                    (  non-tort/non-compkrx)
         Practice (07)                               Commercial(31),          ,
                                                                                                             Miscellaneous Civil Petition
      CM RightS               discrimination,        HaSidential(32) ' •                  •        •             Partnership and Corporate
          false arrest)(notchili                     Drugs(36)(ifthe 01,5.'1/Wives illegal                           Governance01)
           harassmen()(08)                               dregs, cllecklitiaitem;otherwise,                       Other Petition (notspecified
      Defamation (e.g., Vander, libel)                   report as gommer:ttlal or Residentia()                      above)(43)
           (13)             •                    judicial Wavle*        • • :" • •-,•                                Civil Harassment
      Fraud(18)                                      Mad Forfeiture(ps)                                              Workplace Violence
      Intellectual PropettY too                      Petition Re; Arbib ri Award (11)                                Eider/Deperldent Adult
      Professional NegligericeA24                         ofMandate(02), •           -- -•
          Legl Malpractice                               Writ-AdministratiVe•Mandaratta                                   Abirse
          Other Professional Malpractice                                                                             Election Contest
                                                         Writ-Mandamut on Limited Court                              Petition for Name Change
             (not medicalorlegal)                            Case Matti               -
      Other Non-PUPD/WD Tort(36)                                                                                     Petition for Relief From Late
                                                         Writ-Other ymited:Court Case                                     Clatn
Employment
      Wrortgful Termination(36)                                                                                      Other Civil Petition
                                                     Other Judicial Roil:*(39)
      Other Ernploymerit(15)                             Review of MeeithOfficer Order
                                                      • Notice of Appeal-Labor                                   ,s
                                                            •Cornitilselen4rAppeati           .
cMoto titsv..My 1.20071                                                                                                                             Pape 2012
                                                         CIVIL CASE COMER*10T.
                                                                    se.4


                                                                                                          Attachment A - Page 000038
        Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 27 of 63 Page ID #:41


                                                                                                     CASE NUMBER
  SWIRT TinICHABELA,ET           AL. V. AUTOZONERS LLC, ET AL.


                            CIVIL CASE COVER SHEET ADDENDUM AND
                                    STATEMENT OF LOCATION
              (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
              This form is required pursuantto Local Rule 2.3 in all new civil caisifilings In the Los Angeles Superior Court



     Step 1: After completing the Civil Case Cover Sheet(Judicial Council form CM-010),find the exact case type in
                  Column A that corresponds to the r.asP type indicated in the Civil Case Cover Sheet.

     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C,circle the number which explains the reason for the court filing location you have
                  chosen.
                                        Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be ged In the Stanley Mask Courthouse, Cantle! CRStri5t.       7.Letln!Mterp peoner msldes.

2. Permissive tiling In central district.                                          ; 8. LocstIon wherein defendanthesixinrientfunctions wholly.
3. Location where cause of action arose.                                              9, Location ahem one or more ofthe parties reside.
4. Mandatory personal Injury filing In North District.                               10. Location of Labor Commissioner Office.
                                                                                     11. Mandatory filing location(Hub Cases -unlawful detainer, limited
5. Location whew performance required or clefendard resides.                         non.collection, limited collection, or personal Injury).
8. Location of property or permanently garaged vehicle.




                           Auto(22)                0 A7100 Motor Vehicle -Personal Injury/Property DamsgeNVrongful Death              'I, 4,11

                    Uninsured Motorist(48)         a A7110 Personal Injury/Property DarnagolWrongful Death - Uninsurud Motorist       1,4, 11


                                                   0 A8070 Asbestos Property Damage                                                   1,11
                         Asbestos(04)
                                                   a A7221 Asbestos- Personal injuryMirongful Death                                    1,11

                     Product Liability(24)         13 A7280 Product Liability(riot asbestos or inricierwhvirriental)                  1,4,11

                                                   0 A7210 Medical Matpracilos - Physicians& Surgeons                                  1,4, 11
                   Medical Malpractice(45)                                                                                            1,4,11
                                                   0 A7240 Other Professional Health Care Maliarectice

                                                   0 A7250 Premises Llataility (e.g.,sip and fall)
                       Other Personal                                                                                                 1,4, 11
                                                  0 A730 Intentional Bodily Injury/Property DamageMirongful Death (e.g.,              1,4, 11
                       !Nur/I;oPuitY                     assault. vandalism,etc.)                                                                          -
                      0404194 Atenilful
                         Death (23)                                                                                                   1,4, 11
                                                  0 A7270 Intentional infliction of gni:odor:tat DIstness
                                                                                                                                      1.4.11
                                                   Cl A7220 Omer Personal irifury?PioiiertiOaritage/VVrongful Death




  LAU/109(Rev 2/16)                              CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.3
  LASC Appmved 03-04                                AND STATEMENT.OFXOCATION                                                          Page 1 of 4


                                                                                                            Attachment A - Page 000039
       Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 28 of 63 Page ID #:42


                                                                                                          cAse NUMBER
"rwr      CHABELA,ET AL. V. AUTOZONERS LLC, ET AL-

                                               t
                             .• ..- ..::,,,t   1                                         t. ti! oe...'
                                                                                                     •1
                                .
                                               !



                   Business Tort(07)               0 A8029 Other Commerdal/Bitsiness Tort(not fraud/breach of contract)              1,2,3
                                                                               I   •..   y           •    ,



                    CM Rights(08)                  0 A8005 CM Rights/Discrimination-                                                1,2,3

                    Defamation(13)                 0 A8010 Defamation (starrJerdibeft                                                1,2,3
                                                                                                 ,
                       Fraud(18)                   0 A8013 Fraud(no contract)                                                        1,2,3
                                                                                     •
                                                   0 A8017 Legal Malpractice                 •                                       1,2, 3
              Professional Negligence(25)
                                                0 A8050 Other Professional Malpractice(not medical or Mob                            1, 2,3
                                               ,
                       Other(35)                   0 A8025 Other Non-Personal Injury/Property Damage tort                            i t 2,3

               Wrongful Termination(38)            0 A8037 Wrongful Termination                                                      1, 2, 3

                                                   0 A8024 Other EmploymentComplaint Case                                           1,2,3
                 Other Employment(15)
                                                   0 A8109 Labor CorntrissionerAppeals "                                            10
                                                                                                                                   -
                                                   0 A8604 Breath of RentalfLeaie Contract(not unlawful detainer or wrongful        2,5
                                                           eviction)                        - -
              Broach of Contract/ Warranty                                                                                          2,5
                          OM                       0 A6008 Contract/Warronty Wallah -Beller Plaintiff(nofroudinegliatitos) ,
                   (not inaurwme)                                                                                                   1,2,5
                                                   0 A8019 Negligent Breath ofContraciMiguranty(no fraud)
                                                   0 A8028 Other Breath of ContractiWarrawty(not fraud or negligence)               1,2,5

                                                   0 A6002 Collections Case-Seiler Plaintiff.                                       5,8, 11
                    Collections(09)
                                                   13 A8012 Other PmmIsiory Note/Collections Case                                   6,11
                                                   11 A6rri4 nollections Case-Purchaaed Debt(Charged Off Consumer Debt              5,6, 11
                                                             Purchased on or after January 1.2014)
                Insurance Coverage(18)             0 A6015 Insurance Coverage(not complex)                                          1, 2, 5,8

                                                   0 A8009 Contractual Fraud                                                        1.2, 3,8
                  Other Contract(37)               0 A6031 Tordous Interference                          .                          1, 2, 3,5
                                                   11 A6n77 Other Contract Dispute(not breach/Insurancelfraud/negtgenee)            1,2, 3,8,9
          ,
                Eminent DOMSBMIRVer3e                                                                                                              .
                                                   0   A7300 Eminent Domain/Condemnation                      Number of parcels     2,6
                  Condemnation(14)

                 Wrongful Evklion(33)              0 A6023 Wrongful Evietio-
                                                                           nCifiei           • '.                                   2,d
                                                                            _
                                                   0 A8018 Mortgage Foredo:Wire. .•                                                 2,8
                Other Real Property(26)            0 A6032 Quiet Title       ,                                                      2,8
                                                   0 Attain Other Real Property(not eminent domain,landlord/tenantforeclosure)      2,0
          ,
              UnIgivAut Detainer.C4rnmemiti 11 Afttri Unlawful Detaimr-Commorcial(not drugs or wrongful eviction)                   0,11
                            pi)                                                                                                     .
              Unlawful Detainer-Residential
                                            11 A6070 Unlawful Detainer-Reticiential(hot drugs or wrongful eviction)                 8,11
                         (32)
                   Unlawful Detainer-                                  - '
                                            0 A8020F Unlawful Detainer-PostToredosurc                                               2,6, 11
                 Post-ForeclosUns(34)                                                                                                              ,
              Unlawful Detairtar-Drugs(38)         0 A6022 Unlawful Detainer-Drugs                                                  2,8, 11


 LAO1V 100(Rev 2/18)                           CIVIL CASE COVER SHEET ADDENDUM                                                    Local Kul. 2.5
 LASC Approved 03.04                              AND STATEMENT-OF.LOPATION                                                         Page 2 of 4



                                                                                                                   Attachment A - Page 000040
     Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 29 of 63 Page ID #:43


SHORT TITLE                                                                                         CASE KAISER
              CHABELA,ET AL. V. AUTOZONERS LLC, ET AL.


                         .• AS,f. C-0Yer Einekel
                        ,';v 1111:11v Nc                                                                                          .
                                                                                                             .----

                   Asset Forfeiture(05)            0 A8108 Asset Forfeiture Case -         •                                          2.,3,6      .

                Petition re Arbitration(11)                                - acate Arbitration
                                                   0 A8115 Petition to Compei/ConfirmN    -
                                                                                          .                                           2,5

                                                   0 A8151 Writ - Administrative Mandamus                                             2,8

    .§-            Writ of Mandate(02)             0 A8152 Writ - Mandamus on Limited Court Case Matter
                                                   0 A8153 Writ - Other limited Court Case Review .
                                                                                                                                      2
                                                                                                                                      2

                Other Judicial Review(39)          0 A8150 Other Writ/Judicial Review                                                 2,8

              Antitrustrfrade Regulation(03) 0 A8003 Antitrust/Trade Regulation                                                       1, 2,8

                 Construction Defect(10)           0 A8007 Construction Defect                                                        1, 2,3

                Claims Involving Mass Tort          a mow claims involving moms rod                                                   1,2,8
                          (40)
                                                                               ,s                     „. 4
                 SeCtiritie4 Litigation(20)        0 A8,035 Securities Litigation Colo.                                  ,....        1, 2,0

                          Toxic Tort                                                           '
                      Exivironmentat(30)           0 A6636 Todo Tort/Envirorstiental I'         ,                                     1,2,3,8
                                                                                _                                                 r
               incurer
                    "
                 from    Gimn!gteCiainte
                      Complex Case(41)
                                                   0 A8014 Insurance Coverageroutrogation complex case only)                          1,2,6,8
                                N
                                                                                                                     -
                                                   0   A8141 Sister State Judgment                                                    2,6, 11
                                                   0 A8180 Abstract of Judgment                                                       2,6         •
                                                                                         •
                        F.nforeement                El M107 Confession of Judgraent(non-a:nestle relations)                           2,9
                      of Judgment(20)              0 A8140 Adrrdnistrative Ag` am's/ Airarti(not Unpaid taxes)                        2,8
                                               •   0 A8114 Petition/Certificate for Entry'of Judgment On Unpaid Tax                   2,8
                                                    El A0112 Other Enforcemant
                                                                             . of Judgment Case .                                     2,8,9

                          RICO(27)                 0 A8033 Racketeering(RICO)Case                                                     1, 2,8
                                                                             ,
                                                   0 A8030 Deciaratory ReliefOnly                                                     1,2,8

                   Other Complatnts                 t3 A8040 Injunctive ReliefOnly(not do:nestle/harassment)                          2,8
               (Not soer-43° Above)(42)             o Aeo 1 other ceremerdatcommitcase(non-torttnon-cornple()                         1,2.8
                                                   0 A8000 Other Civil Coriptaint(A&i-tort/noTecniplex) -                             1, 2,8

                 PartntnNt)Cm°4563 "               0 A8113 Partnership and Camorate Governance Case                                   2,8
                    Governance(21)
                                                                                                    .,
                  •                                0   A8121 CM Harassment ,         .                                                2. 3,9
                                                   0 A6123 Workplace HeraiFtrnent - :---'                                             2, 3,9
                                                   0 A8124 Eider/Dependent Adult Abuse Case                                           2,3,9
                   Other Petitions(Not
                  Speci0ed Above)(43)              0 A8190 Election Contest .            - .                                          2
                                                   0 A8110 Petition for Change of Narne/Change of Gender                              2,7
                                                   0 A8170 Petition for Relieffrom Late Claim f.aw                                    2, 3,8      .
                                                   CI A8100 Other Civil Petition                                                      2.9




LACIV 109(Rev 2/18)                                CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.3
LASC Approved 03-04                                   AND STATEMENT OF LOCATION                                                    Page 3 of 4


                                                                                                             Attachment A - Page 000041
      Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 30 of 63 Page ID #:44


 SHORT TITLE                                                                         CASE NUMBER
               CHABELA,ET AL. V. AUTOZONERS LLC, ET AL.


Step 4: Statement of Reason and Address: Check the appropriate boxesfor the numbers shown under Column C for the
       type of action that you have selected. Enter the address which is the basis,for the filing location, including zip code.
           (No address required for class action cases).

                                                                 AsorrEss:  •
   REASON:                                                      .13200 Osborne St.
    :3 1.0 2.i/) 3.04.05.06.07. 08.0 9,010.011.                              1-


   CITY'                                STATE      ZIP COOE

   Pacoima                              CA         91331

Stop 5: Certification of Assignment: I certify thatthis case is property filed in the Central                         District of
           the Superior Court of California, County of Los Angeles[Code Civ. Proc.i§392 et seq., and Local Rule 2.3(a)(1)(E)]. •




  Dated: December 2, 2021




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO SE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
       1. Original Complaint or Petition.
      2. If filing a Complaint,a completed Summonsform for issuance by the Clerk.
      3. Civil Case Cover Sheet, Judicial Council form CM-010.
      A.    Civil Case Cover Sheet Addendum end Statement of Location form, LA= 109, LASC Approved 03-04(Rev.
            02/16).
      6. Payment in full of the filing fee, unless there is court ciderfor.waiver,
                                                                                 ,partial or scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010,if the plaintiff or petitioner is a
         minor under 18 years of age will be required by Court in order to issue a summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint,or other initiatin3 pleading in the case.
                                                                           ,




  LACtV 109(Rev 2110)                  CIVIL CASE COVER SFIEET, ADDENDUM                                       Local Rule 2.3
  LASC Approved 03-04                        AND STATEMENT. OF LOCATION                                            Page 4 of 4
                                                                  ea%
                                                                   .4



                                                                 t;                        Attachment A - Page 000042
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    Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 31 of 63 Page ID #:45

                                                                  .'.' * •                                         Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES   '
  COURTHOUSE ADDRESS:
                                                                                                                             FILED
 Chatsworth Courthouse                                                . .. . ..                                   Swaim Court of Coriforria
 9425 Penfield Avenue, Chatsworth, CA 91311                                                                        COtinty0f LOS Angeles
                                                                                                                        12102/2021
                   NOTICE OF CASE ASSIGNMENT                                                             Meth R Qat,EVOulive0ffitet 0 Cie* ofCoat
                                                                                             - •          By                M. Vargas                DecollY
                         UNLIMITED CIVIL CASE                                            •
                                                                             •
                                                                                                   CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.                  21CHCV00918

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                               •'ASSIGNED JUDGE                          DEPT          ROOM
         Stephen P. Pfahler                 F49




                                                                                 ;l1.1




    Given to the Plaintiff/Cross-Complainant/Attorney of Record              herri   R.'.Carter:Executive Officer/ Clerk of Court
    on 12/03/2021                                                                    By M. Vargas                                               . Deputy Clerk
                (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                                                                       Attachment A - Page 000043
     Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 32 of 63 Page ID #:46

                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, arc summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge. or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall bellied within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof ofservice filed yvithin.60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following _issues.: Alternative.dispute resolution, bifurcation, setticmcnt.
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled tfial date. All
parties shall have motions in limine. bifurcation motions, statements of major evidentiary issues, dispositivc motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely.filed. and served prior to the conference. These
matters may be heard and resolved at this conference.. At least five.days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, ordcrs made by the
Court, and time standards or deadlines established by the Court or by'the.Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter,Three Rules, and,adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial. Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley,Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not-to be a class action it will be returned to an independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within,the meaningl of:California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
                                                                                                  .
returned to an Independent Calendar Courtroom for all purposes. • ;".,. ••:1



                                                                                       • t '1
                                                                                       !f!... •


                                                                      •               ,:t
LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT                          UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                                                                  Attachment A - Page 000044
 Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 33 of 63 Page ID #:47


                                                               40-p,
                                                              'Nz7ig. Wolters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                       Tue, Dec 14, 2021

Server Name:                Ramiro Saucedo




Entity Served               AUTOZONERS, LLC

Case Number                 21CHCV00918

J urisdiction               CA




  1 1 11111111111111111111111111 111111111111111111111111




                                                            Attachment A - Page 000045
             Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 34 of 63 Page ID #:48
!nr-trooiraily Fit F-r) hy Superior Court of California County of Ins Angeles on 12/(12/2(121 0218 PIA Sherri P. Carter, Exocutivo Officer/Cloth of Court, by M. Veega&Deputy Cie,F
                                                                                       21CHCV00918

                                                                                                                                                                    SUM-I®
                                                    SUMMONS                                                                            FOR COURT USE°MY
                                                                                                                                    (SOLO MRA USO DE LA CORTE)
                        (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:
      (AVISO AL DEMANDADO):
       AUTOZONERS LLC,a Limited Liability Company; AUTOZONE
       DEVELOPMENT LLC,a Limited Liability Company; and DOES 1-50
       YOU ARE BEING SUED BY PLAINTIFF:
      (LO EsrA DEMANDANDO EL DEMANDANTE):
        WHITNEY ALONDRA CHABELA,an Individual; DIANA VEGA,an
       Individual
          NOTiCEI You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
          below
             You have 30 CALENDAR DAYS after this SUMMOn3 and legal papers are served on you to ale a written response at this court and have a copy
          served on the plaintiff. A letter or phone caN will not protect you. Your written response mug be in proper legal form If you want the mon to hoer your
          C210. There may be a court form that you can taw for your response. You can find these cx)rat forme and more information at the California Courts
          Online Self-Help Center (www.courtinfo.ca.gov/sellhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
          the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wives, money,and property
          may be taken without further warning from the cs)urt
              There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
          referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal savicAis program. You can locate
          these nonprofit groups at the California Legal Services Web site(www.lawhelpeallfoinlaorg), the California Courts Online Self-Help Center
         (wrrwcourdnfo.ottgovhselfhalp), or by contacting your local court or county bar association. NOTE. The court has a statutory (Ian for waived fees sna
          costs on any settlement or arbitration award of$10,000 or more Inc civil case. The court's lien must be paid before the court will dismiss the case
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          en formate MOW GOITOCtO Si*sea qua picador,su caso en Jo cone. Es post* quo haya an Ibrmulano quit usted ponds user pore su respuesta.
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         remisiOn a abogados. SI no puede pager a on ebogado, as posible qua ample con Joe requisitos pare obtener serviclos legal* grate/tee de on
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         (Www.linvheipcallfornatorui, an e Centro de Ayuda de lea Cotes de California,(www.sucorbs.ca.gov)eponiendose en contact° con Is cone eel
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          pagiar elgravamen*is CO* MISS de qua /a code ponds desechar ei CRSO.
      The name and address of the court is:                                                                               CASE WIMP'
                                                                                                                          fitOnee Coe),
      (El nombre y direccian de is cone es):             Los Angeles Superior Court
                                                                                                       21CHCV0091
         Chatsworth Courthouse
        9425 Penfield Ave., Chatsworth,California 91311
        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:
      (El nombre, Is direccion y           narnero de telgonadel ebogado del demendante, o del demandante quo no done ebogedo, es):
       Edgar Martirosyan„ MAR77ROSYAN PC,601 S."Glenoaks Blvd. Suite 201,Burbank, CA.91502.818.528.8700
                                              Sherri R. Carter Exsfiz, Officer I Clerk of Court
       DATE:    1 2/0212021                                                                                  , Deputy
      (Fecho)                                                           (Secrefsrlo)               M. Vargas (Adjunto)
      (For woofofservice ofthis summons, use ProoTof Service of Summons (form POS-010),)
      (Pere tombs de entniga do este cltetkin use atformulado Proof of Service of Summons,(POS-010)).
                                                 NOTICE TO TNE PERSON SERVED:You are served
                                                1. E3   as an individual defendant
                                                2. ED as the person sued under the fictitious name of(specifh:
                                                                                                        ,       .1
                                                3. sizi ell
                                                        \4 1pr
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                                                                                                                                           42 ,                "1-.4

                                                   under. =1 CCP 416.10(cruperaticui)                Ej CCP 418.60(minor)
                                                          ED CCP 416.20(del‘inct corporation)        r--3 CCP 418.70(conservatee)
                                                          F-1 CCP 416.40(association or partnership) =3 CCP 410.90(authorized person)
                                                         c :21 other (specify):                        1 ,1 Aiv
                                               4   r1 by personal delivery on(dk +1 1C44-1 1." -111-1A-t4r1                                                            Pall 1 of 1
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              CaseSupeoT
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                    2:22-cv-00280-GW-AS                         Document 1-1 Filed 01/13/22 Page 35 of 63 Page ID #:49
                         Cowl of California, County of Li.35 Angoloo on 12/02/20iliMMigrri ft Cartor, Exocutivo Offioor/Clork of Court, by M. VargoG,Depuly jIort

                                     Aasigncd for all purposos to: Chatsworth Courthouse, Judicial Officer: Stephen Pfahler




                    Edgar Martirosyan, Esq.(SBN 260250)
                    Azniv Ksachikyan, Esq.(SBN 200479)
                    MARTIROSYAN,P.C.
                    601 S. Glenoaks Blvd., Suite 201                                    t
              3     Burbank, CA 91502
                    Telephone:(818)528-2700
              4
                    Facsimile: (818) 528-8704
                    Email: em@mpclegal.com
                    Email: ak@mpclegal.com
              6
              7
                    Attorney for Plaintiffs,
              8     WHITNEY ALONDRA CHABELA and DIANA.VEGA

              9
                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
             10              FOR THE COUNTY OF LOS ANGELES — CHATSWORTH COURTHOUSE
             11
             12
                    WHITNEY ALONDRA CHABELA,an                                     ) Case No.:           21 C H CV 0091 8
             13     individual; DIANA VEGA,an Individual                           )
             14                                                                    )
                                                                 COMPLAINT FOR DAMAGES:
                                                          )
             15                                           )
                                                          , (1) HOSTILE WORK ENVIRONMENT
                                 Plaintiffs,              )•
             16                                                  SEXUAL HARASSMENT[CGC §
                                                                 12940(j)]
             17                                           ) (2) FAILURE TO PREVENT
                    vs.                                   )       HARASSMENT[CGC § 12940(k)]
             18                                           ) (3) INTENTIONAL INFLICTION OF
                                                          )      EMOTIONAL DISTRESS
             19                                           ) (4) FAILURE TO PAY TIMELY WAGES
            20                                                   [LC § 204 AND IWC WAGE ORDERS]
                    AUTOZONERS LLC, a Limited Liability ):  .(5) FAILURE TO PAY COMPENSATION
            21      Company; AUTOZONE DEVELOPMENT )               DUE UPON TERMINATION [LC §§ 201
                                                                  AND 203]
                    LLC, a Limited Liability Company; and )
            22                                               (6) FAIL'URE TO PROVIDE ACCURATE
                    DOES 1-50                             )
                                                                  WAGE STATEMENTS [LC § 226f
            23                                              (7) FAILURE TO PROVIDE REST BREAK
                                                                 [LABOR CODE § 226.7 AND IWC
            14
                                                          )       WAGE ORDERS]
            25                                            ) (8) FAILURE TO PROVIDE MEAL BREAK
                                 Defendants.              ) , [LC §§ 226.7 AND 512, AND IWC
            26                                            )      WAGE ORDERS]
                                                          ) (9) UNFAIR-COMPETM ON - BUSI N ESS
            27                                            ) , AND PROFESSIONS CODE § 17200

            28                                                                     )
                                                                                              [DEMAND FOR AIRY TRIAL]



                    COMPLAINT
                                                                                       .'1


                                                                                                                 Attachment A - Page 000047
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            NOW COME Plaintiffs WHITNEY ALONDRA CHABELA ("Plaintiff CHABELA")

 2 •and DIANA VEGA ("Plaintiff VEGA")(hereinafter collectively'referred to as "PLAINTIFFS"),
 3   by and through their undersigned counsel, and for their Complaint against Defendants

 4   AutoZoners, LLC and Autozone Development LLC (hereinafter referred to as "AUTOZONE")

 5   and DOES 1-50, inclusive (hereinafter collectively referred to as "DEFENDANTS")and alleges

 6   as follows:
                                    JURISDICTION AND VENUE
 7
            1.      The Court has personal jurisdiction over the DEFENDANTS because they are
 8
     residents of and/or do business in the State of California, County of Los Angeles.
 9
            2.      Venue is proper in this county in accordance with Section 395(a) of California
10
     Code of Civil Procedure because DEFENDANTS reside and/or maintain offices and transact
11                                              ,
     business within Los Angeles County, because DEFENDANTS' obligations and liability arise
12
     therein, and because the work that is.the subject of this action.was performed by PLAINTIFFS
13
     and their claims/damages alleged herein, occurred and/or arose in Los Angeles County.
14
                                             THE PARTIES        •
15                                                          ,
            3.      Plaintiff CHABELA is an individual who at all, relevant times mentioned herein
16
     resided in the County of Los Angeles, State of California, and was employed by
17
     DEFENDANTS.
18
            4.     Plaintiff VEGA is an individual who at all relevant times mentioned herein,
19
     resided in the County of Los Angeles, State of California, and Was employed by
20
     DEFENDANTS.
21
            5.     PLAINTIFFS are informed and believe .and thereupon allege that AUTOZONE
22
     was at all times relevant herein doing business in the County of Los Angeles at 13200 Osborne
23   St., Pacoima, California 91331, Plaintiffs' place. of employment.
24          6.     At all times relevant herein, DEFENDANTS Were PLAINTIFFS' employers,
                                                     ,!?
25   joint employers and/or special employers Within the ineaning of the Labor Code and Industrial.
26 • Welfare Commission Order Nibs. 7-2001 ("1WC Wage Orders") and are each an "employer or

27   other person acting on behalf of an employer" as such term is used in Labor Code Section 558,
28   and liable to.PLAINTIFFS on that basis.



     COMPLAINT



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 1          7.      The true names and capacities, whether individual; corporate, associate, or

 2   otherwise, of the DEFENDANTS named herein as DOES.1-50, inclusive, are unknown to

 3   PLAINTIFFS at this time and therefore said Defendants are sued by such fictitious names.

 4   PLAINTIFFS will seek leave of Court to amend this CoMplaint fo insert the true names and

 5   capacities of said DEFENDANTS when the saine become known to PLAINTIFFS.

 6   PLAINTIFFS are informed and believe and thereupon allege that each ofthe DEFENDANTS

 7   designated herein as a DOE is legally responsible in some manner for the events and happenings
     herein referred to, and negligently, wantonly, recklessly, tortuously and/or unlawfully
 8
     proximately caused the injuries and damages thereby to PLAINTIFFS as herein alleged.
 9
            8.      PLAINTIFFS are informed and belieVe and thereupon allege that
10
     DEFENDANTS,and each ofthem, including those defendants named as DOES 1-50, acted in
11
     concert with one another to commit the wrongful aèi alleged herein, and aided, abetted, incited,
12                                                      ,
     compelled and/or coerced one another in the wrongful acts allege'd herein, and/or attempted to do
13
     so, including pursuant to Government Code §12940 et seq. PLAINTIFFS are further informed
14                                              s• , • - ,
     and believe and thereupon allege that DEFENDANTS,and each of them, including those
15
     defendants named as DOES 1-50, and each of them,formea and executed a conspiracy or
16                                            I-    t      e
     common plan pursuant to which they would commit the unlawful acts alleged herein, with all
17
     such acts alleged herein done as part of and pursuant to said conspiracy, intended to cause and
18
     actually causing PLAINTIFFS harm.
19
            9.      Whenever and wherever reference is made to any act or failure to act by a
20
     Defendant or co-Defendant, such allegations and references shall also be deemed to mean the
21
     acts and/or failures to act by each Defendant acting individually,jointly and severally.
22
             10.    At all times herein mentioned,DEFENDANTS existed under the laws of the State
23   of California, and at all times herein mentioned were authorized to do business in California.
24           1 1.   The conduct complained of herein Was ratified in the County of Los Angeles,
25   State of California.
26                          EXHAUSTION OF ADMINISTRATIVE REMEDIES
27          12.     On or about September 21, 2021, Plaintiff.CHATiELA filed timely charges of
28   discrimination and retaliation with the California Department of Fair Employment and Housing



     COMPLAINT



                                                                         Attachment A - Page 000049
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 1     ("DFEH")against AUTOZONE. On or about SepteMber 22, 2021, the DFEH issued Plaintiff A
 •-)   •Notice of Case Closure and Right to Sue letter.

 3            13.     On or about September 21, 2021, Plaintiff VEGA filed timely charges of

 4     discrimination and retaliation with the California Department of Fair Employment and Housing

 5 ("DFEH")against AUTOZONE. On or about September 22,2021, the DFEH issued Plaintiff A
 6     Notice of Case Closure and Right to Sue letter:

 7                 GENERAL ALLEGATIONS REGARDING SEXUAL HARASSMENT
              14.     PLAINTIFFS allege upon information and belief that at all times relevant herein,
       Defendant AUTOZONE was in the business of selling and distributing auto-parts throughout Los
 9
       Angeles County.
10
              1 5.    Plaintiff CHABELA was employed by AUTOZONE from January 27, 2021, to
11
       August 30, 2021. Plaintiff CHABELA was a hired as a Commercial Driver (also known as a
12
       "Red Shirt") in the Commercial Department of AUTOZONE.. Employees who worked in the
13
       Commercial Department worked with AUTOZONE's customers who had commercial accounts
14                                                   • -     ,
       with the company. As a Driver, Plaintiff CHABELA•was required to deliver auto-parts to these
15                                                            .."               •
       customers. Thereafter, she became a Commercial Specialist. As a Commercial Specialist, she
16
       was required to deliver parts, interface, assist and sell products to Commercial customer clients. •
17                                                      e ,        ;,     t' 't4     •
              16.    Plaintiff VEGA Was employed b'DEFENDA.NTAUTOZONE from sometime in
18
       2020, to August 17, 2021. Plaintiff VEGA was hired to work in the front of the store as a parts
19
       salesperson where she dealt with non-commercial customers. Plaintiff VEGA also assisted the
20
       Commercial Department with the commercial customers as she understood that side of the
21
       business.
22
              17.     In or about February 2021,PLAINTIFFS were continuously subjected to a hostile
23     work environment perpetrated by an AUTOZONE commercial client("CLIENT").
24     PLAINTIFFS were repeatedly sexually harassed by the CLIENT:
25            1 8.    CLIENT engaged in hostile, demeaning and,sexually abusive conduct such that
26     PLAINTIFFS' working conditions were significantly altered.
                                                                    •,
27            19.     The harassment consisted of numerous'events which took place throughout
28     PLAINTIFFS' employment. By way of example, between February 2021 until the



       COMPLAINT                                                        '11




                                                                              Attachment A - Page 000050
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     PLAINTIFFS' separation of employment, CLIENT made unwanted sexual advances towards

 2   PLAINTIFFS both verbally and physically: CLIENT,would frequent PLAINTIFFS' place of

 3   employment several times a week (sometimes.more than once a day). He would get physically

 4   close to PLAINTIFFS. He would sniff their hair and bodies, tell theiri he liked them and
     compliment their physical attributes. CLIENT would bring gifts for PLAINTIFFS. On a certain

 6   occasion, CLIENT touched Plaintiff CHABELA's body by.grabbing her and touching her body

 7   in the store. This incident was witnessed by third parties in the store. CLIENT also sent
     numerous videos and photographs of himself in the nude and in the shower(namely, his fully
 8
     erect penis) to Plaintiff CHABELA. CLIENT bombarded Plaintiff CHABELA with text
 9
     messages that were grotesque and sexual in nature'. On numerous occasions CLIENT told
0
     CHABELA that he was in love with her and continuously asked if she loved him. On another
11                                                             .„.
     occasion, CLIENT attempted to massage and grabbed Plaintiff VEGA at the store while she was.
12
     assisting in the Commercial Department. This. inCident was also witnessed by others in the store.
13
            20.   The above-described conduct was open, obvious and notorious as the Commercial
14                                                            s.
     Department has an open floor plan. All employees work on a single counter and the supervisor
15
     is also located in that area. Any and all activity in that area is visible to all employees and
16
     customers in the area.
17
            21.     Plaintiff CHABELA was also required by her'direct managers/supervisors in the
18                                                                 -
                                                                           .44



     Commercial Department to deliver auto parts to CLIENT's home. Each time she made a
19
     delivery to the CLIENT's home she was subjected to sexually harassing conduct by CLIENT.
20
     Despite expressing her concerns and requesting that she not deliver to CLIENT's home, she was.
21
     repeatedly told it was her job to do so and constantly sent back to CLIENT's home with
                                                                       ,
22                                                   •   . .   .

     deliveries.
23          22.     PLAINTIFFS did not share the CLIENT's feelings or advances. PLAINTIFFS
24   responded to CLIENTS advances and inappropriate comments by informing him that his conduct
                                                       . .
25   was inappropriate and unwelcome, yet he continued to harass theni.
26          23.     Between March,August 2021.;.the_abovezdescribed conduct.by CLIENT-was
27   brought to AUTOZONE's attention in a number of instances. PLAINITEFS notified the
28   commercial managers, the Store Manager, the District Manager, and Human Resources



     COMPLAINT
                                                         5•


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 1   Department about CLIENT's harassing, inappropriate and offensive conduct. PLAINTIFFS
     complained on numerous occasions. Plaintiff CHABELA notified her direct

 3   managers/supervisors about the fact that she did not want to.make deliveries to CLIENT's home.

 4   and that she felt unsafe and uncomfortable doing so. Irrespective, the CLIENT's behavior was

 5   so open and notorious that the above-referenced individuals themselves witnessed CLIENT's

6    sexually harassing behavior, including other AUTOZONE customers.

 7           24.    Defendant AUTOZONE failed to investigate and address above-referenced issues
     in a proper and timely manner. In fact, at one-point PLAINTIFFS were told by one ofthe
 8
     commercial managers that it was PLAINTIFFS' fault that the CLIENT was sexually harassing
 9
     them.
10
             25.    Plaintiff CHABELA began to experience post traumatic stress as a result of
11
     CLIENT's conduct. Plaintiff CHABELA asked 'tor a transfer to a different location, but was told
12
     by the District Manager that if he transferred she would be demoted with a pay cut. Plaintiff
     CHABELA also requested a short leave of absence to deal with the emotional distress and
14                                                 r!        7, •
     anxiety she was experiencing as a result of CLIENT's conduct and AUTOZONE's failure to
15
     address the issue but AUTOZONE denied her request.
16                                                  4.
            26.     PLAINTIFF CHABELA. was eventually transferred to a different location, but
17
     soon realized that she was being referred to as the girl who had been transferred because she was
18
     molested. These characterizations were a further emotional trigger for her. Ultimately, she was
19
     forced to quit her position on August 30, 2021.
20
             27.    As a result of the aforementioned conduct of DEFENDANTS,PLAINTIFFS have
21
     suffered damages in an amount to be determine.d. at trial. As a further result of the
22
     aforementioned conduct of DEFENDANTS,Plaintiffs have suffered emotional distress, anxiety,
23   sleeplessness, and embarrassment.
24   ///
25   ///
26

27   II/
28   ///



     COMPLAINT
                                                       6


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 1          GENERAL ALLEGATIONS REGARDING WAGE AND HOUR VIOLATIONS

 2           28.     At all relevant times herein PLAINTIFF CHABELA was employed by

 3    DEFENDANT AUTOZONE as a Commercial Driver and/or Commercial Specialist.

 4           29.    At all times relevant herein mentioned Plaintiff CHABELA was a nonexempt'

 5    full-time hourly employees within the meaning of the California Labor Code ("Labor Code")and

 6    implementing rules and regulations of the IWC Wage Orders

 7           30.    Plaintiff CH A.BEI.A is informed and believes and thereupon alleges that that at all
      times during her employment with Defendants, all of the hours worked by her were "hours
 8
      worked" as defined by the TWC Wage Orders.
 9
             31.      Throughout her employment,Plaintiff CHABELA was not encouraged to take
10
      her regular lunch breaks. For example, Plaintiff CHABELA would clock out for lunch but be
11
      required to work through her lunch break, all with the IcnoWledgeef hdr supervisors. Plaintiff
12
      CHABELA was neither compensated for any work performed during interrupted lunch breaks
13
      nor allowed to take an additional break to make up for the missed time.
14
             32.     Throughout her respective employments, Plaintiff CHABELA was not
15
      encouraged to take her regular rest breaks. Additionally, when Plaintiff CHABELA took a rest
16
      break she was regularly interrupted by DEFENDANTS during her breaks. Plaintiff CHABELA
17
      was not permitted to take an additional break to make up for the missed time.
18
             33.    Since Plaintiff CHABEL.A's separation of employment, DEFENDANTS have
19
      failed to pay Plaintiff CHABELA for all of the hours she worked. Moreover, DEFENDANTS
20
      have failed to pay Plaintiff CHABELA additional wages for the interrupted meal and rest
21
      periods. Plaintiff CHABELA has been available and ready to receive wages owed to her.
22
             34.    DEFENDANTS further failed to provide Plaintiff CHABELA with accurate
23    itemized statements showing all applicable gross wages earned, and the corresponding number of
`)4   hours worked by her.
25    ///
26    ///
27
28    ///



      COMPLAINT



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                                   FIRST CAUSE OF ACTION
 I
                  HOSTILE WORK ENVIRONMENT - SEXUAL HARASSMENT
                              (FEHA - Cal. Govt. Code § 12940(j))
                    (By All Plaintiffs Against All Defendants And DOES 1-50)
 3
 4          35.     PLAINTIFFS incorporate by reference the factual allegations of paragraphs 1
 5   through 28 above.

 6          36.     The above-referenced conduct by CLIENT was unwelcome, directed towards

 7   PLAINTIFFS, and was part of an ongoing and continuing pattern of conduct.
            37.     The above-referenced conduct caused PLAINTIFFS to perceive their work

 9   environment as intimidating, hostile, abusive and/or offensive.

10          38.     Complaints and/or information about the harassing conduct were made to

11   DEFENDANTS by PLAINITFFS, but the harassment continued.
                                                   ,             •
12          39.     As a further result of CLIENTS"arid DEFENDANTS' ictions, PLAINTIFFS
                                                               •
     suffered emotional distress, resulting in damages to be proven at trial.,
13
            40.     The above-referenced harassing conduct violates California Government Code §§
14
     12940 et seq. and California public policy and 'entities PLAINfIFFS to all categories of
15
     damages.
16                                                        • . .;
            41.     As a result of DEFENDANTS' and each of their. actions, PLAINITFTS sustained
t7
     economic damages to be proven at trial.
18
            42.     DEFENDANTS' acts were malicious, oppressive or fraudulent with inten.t to vex,
19
     injure, annoy, humiliate and embarrass PLAINTIFFS, and in conscious disregard of the rights or
)
.0
     safety ofPLAINTIFFS. Accordingly, PLAINTIFF'S are entitled to recover punitive damages
21
     from DEFENDANTS,
                                                         ,••  ,
22
            43.     By reason ofthe conduct of CLIENT•and DEFENDANTS as alleged herein,
23
     PLAINTIFFS have necessarily retained attorneys to prosecute the within action. PLAINTIFFS
24
     are therefore entitled to reasonable attorney's ,fees and litigation expenses, including expert
25
     witness fees and costs, incurred in bringing the within action.
26
     ///
27   ///
28
     II/



     COMPLAINT



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                                                      s •       ,
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                                   SECOND CAUSE OF ACTION
                             FAILURE TO PREVENT HARASSMENT
2                              (FEHA - Cal. Govt. Code § 12940(k)) .
                     (By All Plaintiffs Against All Defendants AND DOES 1-50)
3
4           44.     PLAINTIFFS incorporate by reference the factual allegations of paragraphs 1

5    through 43 above.

6           45.     In violation of California Government Code § 12940 et seq., DEFENDANTS, and

7    each of them, failed to take all reasonable steps necessary to prevent harassment against

8    PLAINTIFFS.

9           46.     In perpetrating the above-described conduct, DEFENDANTS engaged in a

10   pattern, practice, policy and custom of harassment. Said conduct on the part of DEFENDANTS

11   constituted a policy, practice, tradition, custom.and usage, which denied Plaintiff protection of
                                                              ,
     California Government Code § 12940 et seq.
12
            47.     At all relevant time periods, DEFENDANTS,and each ofthem, failed to make an
13
     adequate response and investigation into the conduct of CLIENT and PLAINTIFFS direct
14
     • managers/supervisOrs and the aforesaid pattern and practice, and thereby established a policy,
15
     custom, practice or usage within the organization of DEFENDANTS,which condoned,
16
     encouraged,.tolerated, sanctioned, ratified, approved of, and/or acquiesced in harassment towards
17
     PLAINTIFFS.
18
            48.     DEFENDANTS,and each ofthem, knew or reasonably should have known that •
19
     the failure to take proper steps to prevent the sexual harassment by CLIENT would result in
20
     further harassment to PLAINTIFFS.
21                                                   . .•    • L.
            49.     The failure of DEFENDANTS,and each ofthem,-to take adequate steps to
22
     prevent the sexual harassment ofPLAINITFFS constituted deliberate indifference to the rights of
23
     employees, including but not limited to those ofPLAINTIFFS, under California Government
24
     Code § 12940 et seq.
25
             50.    DEFENDANTS did not have adequaie harassment policy and did not provide
26   adequate sexual harassment-training-with.respectto-their employees and managers.
27           51.    DEFENDANTS knew or reasonably should have known that the failure to
28   provide adequate education, training, and information as to their personnel policies and practices



     COMPLAINT


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 1    regarding sexual harassment, would result in sexual harassment against employee including but
      not limited to PLAINTIFFS.

 3           52.     The failure of DEFENDANTS to provide any Or adequate education, training, and

 4    information to personnel concerning policies and practices regarding sexual harassment

 5    constituted deliberate indifference to the rights of employees, including but not limited to those

 6    of PLAINTIFFS, under California Government Code § 12940 etseq.

 7            53.    As a result of CLIENT'S and DEFENDANTS' and each of their actions,

 8    .PLAINTIFFS sustained economic damages to be proven at trial.
             54.     As a further result of CLIENT's and DEFENDANTS' and each of their actions,
 9
      'PLAINTIFFS suffered emotional distress, resulting in damages to be proven at trial.
110
             55.     The conduct of CLIENT and DEFENDANTS as described herein was malicious,
11
      and/or oppressive, and done with a willful and conscious disregard for PLAINTIFFS rights.
12
      Consequently, PLAINTIFFS are entitled to punitive damages.
13
             56.     By reason of the conduct of CLIENT and DEFENDANTS and each ofthem as
14                                                 .            •    •
      alleged herein, PLAINTIFFS have necessarily retained attorneys,to prosecute the within action.
15
      PLAINTIFFS therefore are entitled to reasonable attorney's fees and litigation expenses,
16
      including expert witness fees and costs, incurred in bringing the within action.
17
18                                   THIRD CAUSE OF ACTION
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
19
                      (By All Plaintiffs Against All Defendants And DOES 1-50)
20
21           57.     PLAINTIFFS incorporate by reference the factuallallegations set forth in

22    paragraphs 1 through 56 herein,

23           58.     PLAINTIFFS are informed and believe and thereon allege that DEFENDANTS,
      by and through its principals, agents and employees conducted themselves unlawfully in
24
      violation of public policy and applicable law as described above with conscious disregard of the
25
      result or outcome of such act. The unlawful conduct towards PLAINTIFFS, due to its improper
26
      motivations and surrounding circumstances constitute extreme and outrageous conduct by the
27
      DEFENDANTS,and each of them.
28
                                                               !LI



      COMPLAINT
                                                        10


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      I             59.     Through the outrageous conduct described above, DEFE
                                                                                         NDANTS acted with the
      2     intent to cause, and with reckless disregard for,the probability of
                                                                                  causing PLAINTIFFS to suffer
     3      severe emotional distress.

     4              60.     At all relevant times, DEFENDANTS had actual or constructive
                                                                                           knowledge of the
     5      extreme and outrageous conduct described herein, and condoned,
                                                                            ratified and participated in
                                                                       . .4
     6      such extreme and outrageous acts.

     7             61.      As a direct and proximate result of DEFENDANTS' willful, knowi
                                                                                           ng and
     8      i ntentional acts, and DEFENDANTS'failure to act, PLAINTIF
                                                                       FS have suffered and will
           continue to suffer mental distress and anguish. PLAINTIFFS have
     9                                                                     suffered and will continue to
           suffer a loss of earnings, and other employment benefits and job
 10                                                                            opportunities. PLAINTIFFS ar
           thereby entitled to general and compensatory damages in amoun
 1]                                                                           t.to be proven at trial.
                                                                             ,
 12
                                          FOURTH CAUSE OF-ACTION:
 13                                   FAILURE TO PAY TIMELY WAGES
                                   (Labor Code § 204 and IWC Wage Orders)
 14                       (By Plaintiff Chabela Against All Defendants And
                                                                           DOES 1-50)
 15
                                                                    4 ,1
                  62.      Plaintiff CHABELA incorporates by reference the factual
 16                                                                                      allegations set forth in
           paragraphs 1 through 61 herein..
 17
                  63.    Labor Code Section 204 states in pertinent part that all wages
 18                                                                                     earned by any
          person in any employment are due and payable twice during
19                                                                    each calendar month, on days
          designated in advance by the employer as the regular payda
20                                                                   ys.
                  64.     IWC Wage Orders provide that "[e]very employer shall
21                                                                                     pay to each employee, on
          the established payday for the period involved, not less
                                                                     than the applicable minimum wage for all
22
          hours worked in the payroll period, whether the remunerat
                                                                  .ionisdneasured by time, piece,
23
          commission, or otherwise."                        t-t
24
                 65.      DEFENDANTS have failed to pay PlaintiffCHABELA
                                                                                       for all hours she worked,
25
          especially because DEFENDANTS did not pay Plaint
                                                                   iff CHABELA an additional hour of pay
26
          for their failure to provide uninterrupted meal perio_
                                                                ds_ancLrest_periods.
27
                 66.      Plaintiff CHABELA has been available and ready to
                                                                                  receive wages owed to her at
28        the time they became due.
                                                                         ,




          COMPLAINT




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                                                         -
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            67.      DEFENDANTS' practice of not timely paying Plaintiff Chabela her wages earned

 2   is in violation of Labor Code Section 204 and the IWC Wage Orders.

 3          68.      DEFENDANTS' acts taken towards Plaintiff CHABELA was carried out in a

 4   deliberate, cold, callous and intentional manner in order to injure and damage Plaintiff

 5   CHABELA and in conscious disregard ofthe Labor Code. DEFENDANTS' conduct was willful

 6   because DEFENDANTS had knowledge of the illegality of failing to pay wages and still

 7   intentionally failed to timely make payment as required by law.
            69.      As a direct and proximate result of DEFENDANTS'failure to provide the
 8
     entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
 9
     employment in an amount to be proven at trial.
10
            70.      Plaintiff CHABELA demands judgment against DEFENDANTS as follows:(a)
11                                                                    ,t
     civil penalties pursuant to Labor Code Section 558(a);(b)foi• reasonable attorneys' fees and
12
     costs of suit pursuant to Labor Code Sections 1194(a) or 218.5 and/or 226(c);(c)interest on all
13
     due and unpaid wages pursuant to Labor Code §218.6; and (d)any other and further relief that
14
     the Court considers proper.
15                                                    ,           •
            71.      Plaintiff CHABELA also prays for the remedies provided by California Labor
16
     Code Section 204 and 1WC Wage Orders whereby the empl.oyei- is to pay $50.00 for the initial
17
     violation and $100.00 for each subsequent violation.
18
19                                   FIFTH CAUSE OF ACTION
                  FAILURE TO PAY COMPENSATION DUE UPON TERMINATION
20
                                    (Labor Codes §§ 201 and 203)
21                  (By Plaintiff Chabela Against All Defendants And DOES 1-50)

22
            72.      Plaintiff CHABELA incorporates by reference the factual allegations set forth in
23
     paragraphs 1 through 71 herein.
24
            73.      Plaintiff CHABELA brings this pause of action based on the following statutes:
25
     Labor Code Section 201 states in pertinent part that "[i]f an employer discharges an employee,
26
     the wages earned and_unpaid_at_the_time.of.dischargeare-due-and-payable-immediately"
27          74.      Labor Code Section 203(a) states in pertinent part that "[i]f an employer willfully
28   fails to pay, without abatement or reduction, in accordance with Sections 201, 201.3, 201.5,



     COMPLAINT



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 1   201.9, 202, and 205.5, any wages of an employee who is discharged or who quits, the wages of

 2   the employee shall continue as a penalty from the due date thereof at the same rate until paid or

 3   until an action therefore is commenced: but the wages shall not continue for more than 30 days."

4           75.     Plaintiff CHABELA's employment with DEFENDANTS ended on or about

 5   August 30, 2021.

 6          76.     Plaintiff CHABELA was not paid for all hours worked throughout the duration of

 7   her employment with DEFENDANTS. DEFENDANTS failed to pay Plaintiff CHABELA, who
     is no longer employed by DEFENDANTS,compensation due upon termination in violation of
 8
     Labor Code § 201.
 9
            77.     Plaintiff CHABELA has been available and ready to receive wages owed to her.
10
            78.     DEFENDANTS' acts taken towards Plaintiff CHABELA was carried out in a
11
     deliberate, cold, callous and intentional manner in order to injurecand damage Plaintiff
12
     CHABELA and in conscious disregard of the Labor Code. DEFENDANTS' conduct was willful
13
     because DEFENDANTS had knowledge of the illegality of failing to pay wages and still
14
     intentionall.y failed to make payment as required by law.
15
            79.     As a direct and proximate result of DEFENDANTS' failure to provide the
16
     entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
17
     employment in an amount to be proven at trial.
18
            80.     As a direct and proximate result of DEFENDANTS'conduct, Plaintiff
19
     CHABELA suffered and continues to suffer general damages.
20
            81.     Plaintiff CHABELA demands judgment against Defendants and DOES 1 through
21
     50, inclusive, as follows:(a) general damages;(b)for reasonable attorneys' fees and costs of suit
22
     pursuant to Labor Code Sections 1194(a) or 218.5;       civil penalties pursuant to Labor Code
23   Section 558(a);(d) waiting time penalties pursuant to Labor Code Section 203;(e) interest on all
24   due and unpaid wages pursuant to labor Code Section 218.6; and (f) any other and further relief
25   that the Court considers proper.
26          82.     Plaintiff CHABELA also prays._for the rerne'dies.provided by California Labor
27   Code Section 204 and 1WC Wage Orders whereby the employer is to pay $50.00 for the initial
)8   violation and $100.00 for each subsequent violation.



     COMPLAINT
                                                      • 13


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                                  SIXTH CAUSE OF ACTION
 1
             FAILURE TO PROVIDE ACCURATE WAGE AND HOUR STATEMENTS
                                  (Labor Code § 226,et seq.)
                 (By Plaintiff Chabela Against All Defendants And DOES 1-50)
 3
 4           83.     Plaintiff CHABELA incorporates by reference the factual allegations set forth in
 5    paragraphs 1 through 82 herein.

 6           84.     Pursuant to Labor Code Sections 226, employers have a duty to provide their non-

 7    exempt employees with itemized statements showing total hours worked, hourly wages, gross

 8    wages, total deductions and net wages earned. An employer who violates these code sections is

 9    liable to employees for the greater of actual damages suffered by the employee, or $50.00 in civil

10    penalties for the initial pay period in which a violation occurred, and $100.00 per employee for

11    each subsequent pay period, up to a statutory maximum of $4,000.00. Pursuant to Labor Code
      Section 226(0(2), an employee is deemed to suffer injury for purposes of this subdivision if the
12
      employer fails to provide a wage statement at all.
13
             85.     In addition, pursuant to Labor Code Section 226.3, an employer who willfully
14
      violates Labor Code Section 226 is subject to a $250.00 civil penalty for the initial pay period in
15
      which a violation occurred, and $1,000.00 per employee for each subsequent pay period, with no
16
      maximum.
17
             86.     At all relevant times herein, DEFENDANTS failed to provide Plaintiff
18
      CHABELA with timely and accurate wage and hour statements showing gross wages earned,
19
      total hours worked, all deductions made, net wages earned, the name and address of the legal
`)0
      entity employing Plaintiff CHABELA,and all applicable hours and rates in effect during each
21
      pay period and the corresponding number of hours worked at each hourly rate by Plaintiff
22
      CHABELA. For the majority of the time and as to nearly all of her wages, knowingly and
23
      intentionally, not inadvertently, failed to provide Plaintiff CHABELA with accurate paystubs.
24
      Therefore, DEFENDANTS failed to comply with Labor Code Section 226, since Plaintiffs
25
      .C.HABELA received inaccurate paystubs without required information, including overtime hours
26
      actually worked:
27           87.     As alleged herein, Plaintiff CHABELA was not exempt from the requirements of
28    Labor Code Section 226.



      COMPLAINT
                                                           14


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 1           88.     This failure has injured Plaintiff CHABELA,by misrepresenting and depriving

 2    her of hour, wage, and earnings information to which she is entitled, causing her difficulty and

 3    expense in attempting to reconstruct time and pay records,.causing her not to be paid wages she

 4    is entitled to, causing her to be unable to rely.on earnings statements in dealings with third

 5    parties, eviscerating their rights under Labor Code Section 226(b) to review itemized wage

 6    statement information by inspecting the employer's underlying records, and deceiving her

 7    regarding her entitlement to overtime, meal period, and rest period wages. For the time periods
      that Plaintiff CHABELA was not provided with paystubs at all, her aforementioned injuries are
 8
      presumed as a matter of law.
 9
             89.     Plaintiff CHABELA demands judgment against DEFENDANTS and DOES 1
10
      through 50, inclusive, as follows:(a) penalties in the amount of$50 for the initial pay period in
11
      which the violation occurred, plus $100 for each violation in a subsequent pay period, up to an
12                                                                    . 1.


      aggregate penalty of $4,000 pursuant to Labor Code Section 226(e);(b)for reasonable attorneys'
13
      fees and costs of suit pursuant to Labor Code Sections 226(e) and § 218.5;(c) civil penalties
14
      pursuant to Labor Code Section 558(a);(d) waiting time penalties pursuant to Labor Code
15
      Section 203;(e)interest on all due and unpaid wages pursuant to Labor Code Section 218.6; and
16                                                                   . :.
     (I) any other and further relief that the Court considers proper.
17
18                                 SEVENTH CAUSE OF ACTION
                               FAILURE TO PROVIDE REST BREAK
19
                            (Labor Code § 226.7 and IWC Wage Orders)
20                  (By Plaintiff Chabela Against All Defendants And DOES 1-50)

21
22           90.     Plaintiff CHABELA incorporates by reference the,factual allegations set forth in

23    paragraphs 1 through 89 herein.
             91.     Under IWC Wage Orders, employer shall,authoriie and permit all employees to
24
      take rest periods, insofar as practicable, in the middle of each Work period. The rest period shall
25
      be based on the total hours worked daily and must be at the minimum rate of ten (10) minutes net
26
      rest-time-for-each-fotu.(4)
                              • .-hour-workpericik-or Marafffetilifithereof The Division of Labor
27
     Standards Enforcement(DLSE)considers anything more than two hours to be a "major fraction
28
                                                              1




     COMPLAINT
                                                         15


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 1   of four." Authorized rest period time shall be counted as hours.worked for which there shall not

 2   be a deduction from wages.                                „..
 3          92.     Under Labor Code Section 226.7 (b), no employer shall require any employee to .

 4   work during any meal or rest period mandated by an applicable order of the Industrial Welfare

 5   Commission.

 6          93.     Under Labor Code Section 226.7.(c), if an employer fails to provide an employee

 7   a rest period in accordance with the applicable provisions of an IWC Wage Order, an employer
     shall pay the employee one additional hour of pay at the employee's regular rate of
 8
     compensation for each work day that the rest period is not provided.
 9
            94.     Throughout her employment, Plaintiff CHABELA was not encouraged to take her
10
     regular rest breaks. Additionally, when Plaintiff CHABELA took a rest break she was regularly
11
     interrupted by DEFENDANTS during her break.
12
            95.     DEFENDANTS have failed to provide Plaintiff C.HABELA with rest periods for'
13
     every four hour work period or pay additional hour of wages for the rest period not provided.
14                                                             • !, .
     Plaintiff CH.A.BELA has been available and ready to receive wages owed to her.
15
            96.     DEFENDANTS'failure to provide,Plaintiff CHABELA with rest periods or,
16
     alternatively, pay one additional hour of wages per missed rest break constituted a violation of '
17
     the Labor Code Section 226.7 and the IWC Wage Orders.
18
            97.     DEFENDANTS'failure to provide Plaintiff CHABELA with rest periods was
19
     willful because DEFENDANTS had knowledge•of the illegality of failing to provide rest periods
20
     and still intentionally failed to do so as required hy
21                                                       .       ..„
             98.      As a direct and proximate result of DEFENDANTS' failure to provide the
22
     entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
23                                                    .:( • ;.J
     employment in an amount to be proven at trial.   •
24          99.     Plaintiff CHABELA demands)Udgment against DEFENDANTS as follows:(a) .
25                                                                   .•
     additional pay for rest periods not provided, pursuant to Labor Code Section 226.7(c) and IWC
26   Wage Orders;(b)for reasonable attorneys' fees and costs of suit_pursuanttoiabor_Code.Section
27   218.5;(c) civil penalties pursuant to Labor Code Section 558.(a);(d) interest on all due and
28   unpaid wages pursuant to Labor Code Section 218.6; and (e) any other and further relief that
                                                     .".     •


     COMPLAINT
                                                       16 -


                                                                         Attachment A - Page 000062
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 1   Plaintiff CHABELA is entitled to and/or the Court considers proper.


                                    EIGHTH CAUSE OF ACTION
 3                            FAILURE TO PROVIDE MEAL BREAK
 4                    (Labor Code §§ 226.7 and 512 and IWC Wage Orders)
                    (By Plaintiff Chabela Against All Defendants And DOES 1-50)
 5

6            100.      Plaintiff CHABELA re-alleges andincorporates-by reference Paragraphs 1

 7   through 99, inclusive; as though set forth in full herein.

 8           101.      Under Labor Code Section 512(a),:an employer may not employ an employee for

 9   a work period of more than five(5)hours per day without providing the employee with a meal

10   period of not less than thirty(30) minutes, and an employer may not employ an employee for a

11    work period of more than ten (10) hours per day without providing the employee with a second

12    meal period of not less than thirty(30) minutes. Ifthe total hours worked is no more than twelve
     (12) hours, the second meal period may be waived by mutual consent ofthe employer and the
13
     employee only if the first meal period was not WaiVed.''• - • 1:
14
             102.      Under the IWC Wage Orders, employers mist authorize and permit all employees
15
      to take a meal. period of not less than thirty (30) minutes after each work period of not more than
16
      live(5) hours.
17
             103.      Under Labor Code § 226.7(b), no employer shall require any employee to work
18
      during any meal or rest period mandated by an applicable order of the Industrial Welfare
19
     Commission.
20
             104.    Under Labor Code § 226.7(c), if an employer fails to provide an employee a meal
21                                                          _     .
      period in accordance with the applicable provisions ofIWC Wage Orders, an employer shall pay
22
     the employee one additional hour of pay at the employee's regular rate of compensation for each
23
      work day that the meal period is not provided: ••
24
             105.      The IWC Wage Orders provide that an employer.shall authorize and permit an
25
     employee to take a thirty (30) minute meal period after five(5)hours of work wherein the
26                                           _
     employee is completely relieved of all duty, or to pay an hour of wages under IWC Wage Orders
27   per meal period missed.
28



     COMPLAINT
                                                         17 •


                                                                          Attachment A - Page 000063
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 1          106.     The 1WC Wage Orders require employers to maintain records documenting its

 2   employees' meal periods, and California IndUstrial Welfare Commission Wage Order 1-2001(7).

 3   which provides the same.

 4          107.     At all relevant times stated herein, Plaintiff CHABELA was not encouraged and

 5   -was regularly interrupted during her lunch breaks by DEFENDANTS. For example, Plaintiff

 6   CHABELA was ordered to perform work related tasks during her meal breaks. Plaintiff

 7   CHABELA would clock out during lunch but was instructed by her managers to work through
     the meal break. Plaintiff CHABELA was neither compensated for any work performed during
 8
     interrupted lunch breaks nor allowed to take an additional break to make up for the missed time.
 9
             108.    Plaintiff CHABELA is still owed these wages for missed meal periods.
10
     Accordingly, DEFENDANTS violated the statutes and regulations enumerated above.
11
            109.     DEFENDANTS' failure to provide Plaintiff CHABELA with meal periods was
12
     willful because DEFENDANTS had knowledge of.the illegality of failing to provide meal.
13
     periods and still intentionally failed to do so as required by law.
14
             1 10.  As a direct and proximate result of DEFENDANTS' failure to provide the
15                                                             •
     entitlements set forth above, Plaintiff CHABELA has suffered lost wages and other benefits of
16
     employment in an amount to be proven, at trial.
17
            1 11..   Plaintiff CHABELA demands incignient against DEFENDANTS as follows:(a)
18
     additional pay for meal periods not provided, pursuant to Labor Code Section 226.7(c) and the
19
     applicable IWC Wage Orders;(b)for reasonable attorneys' fees and costs of suit pursuant to
20
     Labor Code Section 218.5;(c) civil penalties pursuant to Labor Code Section 558(a);(d) waiting
21                                                  . . .       .
     time penalties pursuant to Labor Code § 203;(e) interest on all due and unpaid wages pursuant to
22
     Labor Code Section 218.6; and (f) any other and further relief that the Court considers proper.
23          1 12.    Plaintiff CHABELA also prays f'o'r.penaltie's pursuant to the IWC Wage Orders
24   which state that in addition to any other penalties.that may exist, the employer and person acting
25   on behalf of the employer are subject to a civil penalty of $50.00 for the initial violation and
26   $100.0(Lfor alLsubsequentviolations...ofunderpaying_employee_for_each_pay_period_the employce.
27   was underpaid, and the affected employee shall receive payment of all wages recovered.
28   ///



     COMPLAINT



                                                                           Attachment A - Page 000064
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                                      NINTH CAUSE OF ACTION
 1
                                       UNFAIR COMPETITION
 2                           (Business and Professions Code § 17200, et seq.)
                     (By Plaintiff CHABELA Against All Defendants And DOES 1-50)
 3
 4           1 13.     Plaintiff CHABELA re-alleges and incorporates by reference Paragraphs 1
 5   through 112, inclusive, as though set forth in full hereiri,'as though set forth in full herein except

 6   where to do so would be inconsistent with pleading a cause.of action for Unfair Competition in

 7   Violation ofBusiness and Professions Code §17200, et seq.

 8           1 14.     DEFENDANTS' violations of the aPplicable provisions of the Labor Code and

 9   :1-WC Orders, as alleged herein, including, but not limited to, DEFENDANTS'failure to provide

10   rest and meal breaks, DEFENDANTS'failure to provide timely and accurate wage and hour

11   statements, DEFENDANTS'failure to pay compensation due in a timely manner upon
     'termination, and DEFENDANTS' failure to maintini cornplete and accurate payroll records for
12
     the Plaintiff CHABELA constitute unfair businesspacticesin•violation of.Business and
13
     Professions Code Section17200, et seq.
14
             115.      As a result of DEFENDANTS' unfair buginess practices, DEFENDANTS have
15
     reaped unfair benefits and illegal profits at the expense of Plaintiff CHABELA and members of
16
     the public. DEFENDANTS should be made to disgorge their ill-gotten gains and restore such
17
     monies to Plaintiff CHABELA.
18                                                  •• ••
             1 16.     DEFENDANTS' unfair business practices entitle Plaintiff CHABELA to seek
19
     preliminary and permanent injunctive relief, including but not limited to orders that the
20
     DEFENDANTS account for, disgorge, and restore to Plaintiff CHABELA the monies and
21                                                                   • 't
     benefits unlawfully withheld from her:
22
     ///
23                                                                     •
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26
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27   ///
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     COMPLAINT
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                                                                            Attachment A - Page 000065
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 1                                     PRAYER FOR RELIEF

 2         WHEREFORE,PLAINTIFFS pray for relief as follows':

 3         1.     For general damages of approximately $2,500,000.00 against all DEFENDANTS;

 4         2.     For special damages of approximately $500,000.00 against all DEFENDANTS;

 5         3.     For punitive damages of approximately $2,500,000.00;

 6         4.     For attorneys' fees as provided by law;

 7         5.     Forprejudgment, post-judgment and other interest as provided by law;
           6.     For cost of suit incurred herein; and
           7.     For such other and further relief as the Court deems fair and just.
 9

10
     Dated: December 1, 2021                     MARTIROSYAN P.C.
11
12
13                                              /s/Edgar Martirosyan
                                                Edgar Martirosyan; Esq.
14                                              Azniv•Ksachikyan,'-Esq.
15                                              Attorneys for Plaintiffs,
                                                WH1TNE ALONDRA CHABELA and
16                                              DIANA VEGA
17
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26                                                        r.
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     COMPLAINT
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                                                                       Attachment A - Page 000066
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                                     DEMAND FOR JURY TRIAL
 1
2           Plaintiffs hereby demand a trial by jury on all claims. . ,

3
4
      Dated: December 1, 2021                     MARTIROSYAN P.C.
5

6
7                                                 /s/Edgar Martirosyan
                                                  Edgar Martirosyan, Esq..
8                                                 Azniv Ksachilcyan, Esq.
                                                 .Attorneys for Plaintiffs,
9                                                 WHITNEY ALONDRA CHABELA and
10                                                 DIANA VEGA

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      COMPLAINT
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                                                                N. Carter. Executive      56 ofof63
                                                                                     Officer/Clerk       Page
                                                                                                   Coun, by        ID #:70Clerk
                                                                                                            M. Varyes.Deputy


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          —
          '5TErgVia
                  'RaPrtitraivi
                            ' '  3, s4TBRrag)
                               D11114r
             MARTTROSYAN PC.
             601 S. Glencaks Blvd. Suite 200
             Burbank, CA.91505
                 TELEPHONE WI:  818-528-8700             FAx NO, 818-528-8704
            ATTORNEY FOR Nada*  Plaintiffs: Whitney Chabela and Diana Vega
          supstuon COURT OF CALIFORNIA.COUNTY OF LOS ANGELES
              STREET AC°R6SS' 9425 Penfield Ave.
              MAILING AIXIRESS: 9425 Penfield Ave.
             cir/ Alia cdPE: Chatsworth,CA 91311
                 BRANcli won: Chatsworth Cinuthouse
            CASE NAME:
          , CHABELA,et al. v. AIJTOZONERS LLC,et at.
                                                                                                          CASE NUMBER:
               CIVIL CASE COVER SHEET                            Complex Case Designation
          J/ Unlimited            ED Limited                                                                21 CHICA- /0091
                                                                   Counter        ED Joinder
                (Amount                 (Amount                                                           JUDGE:
                 demanded               demanded is         Filed with first appearance by defendant
                 exceeds $25,000)       $25,000 orless) .       (Cal. Rules   of Court, rule 3.402)         DEPT:
                                           items 1-6 below must be completed(see instructions on page 2).
          1.. Check one box below for the•case type that best describes this case: •
              Auto Tort.                                  Contract                                 Provisionally Complex      Litigation
                                                         = Breach of cone /Warranty(08) (Cal. Rules of Court, rules 344004,4031
              FR    Auto(22)     , ..
                    Uninsured motorist(48)
              Other PUPD/WD(Personal-injury/Property
                                                          E3 Rule'3.740 conedions(09) '
                                                                    E3
                                                                  Other collections(09)
                                                                                                   =1 Antitrust/trade regulation (03)
                                                                                                             I:3 Construction defect(10)
              Demage/Wrongful Death)Tort                  =1 Insurance coverage(18)                          123 Mass tort(40)
              1 1
              -
              E     Aebestoe(04)
                    Pioductilabalty(24)
                    Medioal malpractice(48)
                                                                    CD
                                                                  Other contract(37)
                                                           Real Properly
                                                         .0 Eminent lornaintinVerse
                                                                                                             = Securities litigation(28)
                                                                                                                   n
                                                                                                             = EvinineriontoUToxic     tort(30)
                                                                                                             = lnsUrance coverage claims arising from the
              ED Other Pirpoiwn(1),                              condemnation(14) ,                              above listed provisionally complex case
                                                          1"1    'Wrongful   eviction(33)                          typet(iii)                                      •
               Non-PUPONVID(Other)'tort
              = Busineaslortfurtiair business Prastice(.07)Fl     Other   real property(26)             Enforcement of Judgment
                    Civil rights(08)                       Unlawful Detainer                            = Enforcement oflodgment(20)

            R       Oefarnatien(13)
                    Fraud(16)
                                                          CD Commercial(31)
                                                                    CD
                                                                  R• esidential(32)
                                                                    r-i                      •
                                                                                                        hitsceltaneous Civil Complaint
                                                                                                        : 3 RICO(2T)
                                                                                                             O Other complaint(notspooltied above)(42)
            9
            1
            CD
                      Intellectual property(19)'
                      Professional negligerice(25)
                      Other nee-PI/POMO tort(35)
                                                                            D• rugs(33)
                                                                    Judicial Review
                                                                    CD Asset forfeiture(05)         ,
                                                                                                             Nliscollaneous Civil Petition
                                                                                                             El Partnership end corporate governance(21)
              Eisployment                                          'ED Petition re: arbitration sward (11)   ED    Other petition (not opooffed above)(43)
              12,„/.1 vvrongfui termination (38)                    Ej Writ oi mandate(02)
             = Other employment(18)                                 n Otherjudicial review(39)
          2. This case 1=1is           Ly...1 is not complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the
             factors requiring exceptional judicial management:
             a.  r-i  Large number of separately represented parties         [Ti Large number of witnesses
              b = Extensive motion practice raising difficult or novel e.           Coordination with related actions pending in one or more courts
                      issues that INIII be time,  consuming to resolve              In other counties, states, or countries, or in a federal court
             e. El aUbstantial amount of documentary evidence              1: (=Substantial poStjudgrnentjudielalluipervision
         3.    Remedies sought(check all that apply): a.[Z] monetary b.ED nonmonetary; declaratory or injunctive relief                              c. rTlpunitive
         4.    Number of Causes ofaction (specify):
         6.    This case         is       CE
                                           is not a class action suit
         6.    If there are any known related cases, file and serve a notice of related case (You may
         Data: December 2, 2021.
         EDGAR IVIARTIROSYAN,Esq.
                   -      - -              OR PRINT NAms)                                               (SIGNATURE OF ARTY OR ATTORNEY FOR PARTY)
                                                                                   NOTICE
           • Plaintiff rritist file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
             under the Probate Code; FaMily Code, or Welfare and InStitutiono code).(Cat.1ules ot CoUrt, rule 3.220..) Failure to file may result
            in sanctions.
           • File this *Warsheet in addition to any cover sheet required by local court rule.
           •If this case Is complex Under rule 1.400 et seq of the California Rulesof Court you must serve a copy ofthis cover sheet on all
            other parties to the action or proceeding.
           • Unless this is a collections case under, rule 3.740 or a complex case this cover sheet will be used for statistical purposes ant
                                                                                                                                                                     jar
          Form Adapted ftv                                                                                             Ca Raw of Caw.AA*2,30,3.24, 3.a00.4403.31443;
            Judicial Odurial of      '
                                                                    CIVIL CASE COVER SHEET                                  Cal. Standada a Judicial Admalialiadon.lat 3.10
            CM410 May. Juiy 1,21:07) ,



                                                                                                                  Attachment A - Page 000068
     Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 57 of 63 Page ID #:71

                                                                                                                            CM-010
                              INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a 'first paper (for example, a.complaint) in a civil aim, yriii muet
complete and file, along with your first paper, the Civil Case Cover.;hoot contained on page 1. This information will be used to compile
statistics about the types end numbers of calms filed. You must complete items 1 through 6 on the sheet In ttem 1, you must check
one box for the case type that best detcrlbeis the case. If the case fts.hoth.a general and a Mere specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best Indicates the primaty cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in kw 1 are provided below. A cover
sheet must be flied only with your initial paper.''Failure to file a cover sheet with the first paper filed in e.civil case may subject a party,
Its counsel, or both to sanctions unclerrules 2.30 and 3.220 of the otiiifamie Rules of Court
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3,740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive ofInterest and attomey's fees, arising from a transaction in
which property, services, or money was acquired on credit A collections case does not include an action seeking the toiiowing: (1)tort
damages, (2) punitive damages, (3) recovery of real proPerty„ (4) recovery of personal property, or (5) a prejudgment writ of
attachment The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-fur-service requirements and case management rules, unless,a defendant flies a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. in complex cases only, parties must also use the Civil Case Cover shoot to designate whether the
wise is aimplex. ifs plaintiff believes the case Is complex under rule 3.400 of the California Rules of Court this must be Indicated by
completing the appropriate boxes in Items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must he /served with the
euri'plaint on all parties to the action. A defendant may file and serve no later than the the of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, If the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                        Centred                                             Provisionally Complex CM!LltiglitfOrl(Cat
    Auto (22)-Personal I/toy/Property                Breach of Contract/Warranty(06) .               Rules of Court Rule* 3,400-3.403)
        Damage/Wrongful Death                            Breads of Rental/Sew                 .            Antltrust/Trade Regulation (CO)
     Unlearned Motorist(46)(litho                              Contract(not unlawful detainer              Construction Defect(10)
        cave involves on uninsurad                                 or Wiongfu)evietion)                    Claims Involving Mass Tort(40)
         motorist claim subject to                       ContradaVvarranty Breach-Seller                 • Securities Litigation(25)
        *iteration, check this ltem                            Plaintiff(not fraud or negligence)         Environmentavioxic Tort(30)
        instead of Auto)                                 Negligent Breach of Contract/                     Insurance Coverage Clohno
                                                              Warranty                       .                 (arising Mem provisisnally complex
Other PUPDAVD(Personal Miley/
Property Deinege/Wrongfu)Dealt)                          (*Wier Breeds of Contract/Warrenty                    Case type Need above)(41)
Tort                                                 Collections(e.g., money owed. open               Enforcement of Judgment
    Asbestos(04)                                         book accounts)(09) •                              Enforcement of Judgment(20)
        Asbestos Property Demmer                         Collection Case-Seiler Plaintiff                      Abstract of Judgment(Out of
        Asbestos Personal injury/                        Other Promissory Note/Collections                          County)
             Wrongful Death                                   Case                                             Confession of Judgment(non-
    Product liability (notasbestos or               Insurance Coverage (not ploy/sky:ally                           domestic relations)      •
        toxirienvbtornantag(24)                          conerks4(la)          .                               Sister State Judgment
     Medical Malpractice(45)                             Auto Subrogation '. •                                 Administrative Agency Award.
        Medical Malpractice-                             Other Coverage, .                                        (not unpaid taros)
             Physicians & Surgeons                  Other Contract(37). .                                      Peetion/Certification of Entry of
        Other Professional Health Care                   Contractual Fraud - .                                     Judgment on Unpaid Taxes
              Malpractice                                Other Contract Disputa                                Other Enforcement of Judgment
    Oftw PUPD/WD(23)                            Real Property               -    .                                  Case
        Premises Liability (e.g., slip              Eminent Domeirthrioikis •                         ilitiscelleneatts Civil Complaint
             aid fall)                                   Condentn6tion(14) '                               RICO(27)
        Intentional Bodily injusy/PDAND             Merciful Eviction (33) • :                             Other Complaint(not specified
                                                                                                               Wye)(42)
            (e.g.. Mat*.vandalism)                  Other Real Property (e.g.,'quiet title)(26)
        Intentional infliction of                        VVrit of Possession of Real P  Property                            Relief Only
             Emotional Uistreas                                                                                 =Zellef Only (non-
                                                                                                               ID
                                                         Mortgage Foracioaure
        Negligent Infliction of                                                                                     heressmere)
                                                         Cluiet Title        • !
             Emotional Distress                          Other Real Property(not eminent                       Mechanias lien
        Other PUPDMD                                     domain, landordAtrant, or:                           Other Commercial Complaint
Non-PePteteu touter)Tork                                 lorackxkure) . -: ,. . .                                  Case (non-Colf/non-complex)
    Business TorUUnfair Business                Unlawful Detainer                                            Other Civil Complaint
        Practice(07)                                Commercial(31)                                                (non-tortInon-compitx)
                                                                                                      Miscellaneous Civil Petition
   Civil Rights (e.g., discrimination,              Residential(32)                     •                Partnership and Corporate
       flute arrest)(not cive                       Drugs(35)('ff* case InVolves Illegal                     Governance(21)
        harassment)(OS)                                  drugs, chink this item; otherwise,
   Defamation (e.g., slander, libel)                                                                     Other Petition (not speolled
                                                         report as Commercialor Residentia0                  abet.,)(43)
        (13)                                    Judicial Review           •• .                               CM Harassment
   Fraud(16)                                        Asset Forfeiture(05)
   ireellectuai Property(19).                                                                                Vtiorkplace Violence
                                                    Petition Re: Arbitnitiori Award (11)                     :I •,.. a ... .. Adult
   Professional Negligence(25)                      Writ of Mandate(02)
       Legal Malpractice                                 Wit-Admireseative•Mandannia                          Election Contest
       Other Professional Malpractice                    Writ-Mandamus on Limited Court
          • (not medicalor legal)                                                                             Petition for Name Change
                                                             Case Matter                                      Petition for Relief From Late
    Other Non-PI/P13/WD Tort(35)                         Veit-Other Limited Court Case                            Claim
Employment                                                  Review       ..
   VVrongful Termination(36)                                                                                  Other Civil Petition
                                                    Other Judicial Review(39)
   Other Employment(15)                                 Review of Health"Officer Order
                                                       Notice of Appeal-Labor
                                                           Cornmissiorier Appeals
CM410fliev Juty t,2007)                                                                                                                   Pip 2012
                                                    CIVIL CASE COVER SHEET



                                                                                                    Attachment A - Page 000069
       Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 58 of 63 Page ID #:72


                                                                                                             CASE NUMBER
  SHORT linItHABELA, ET AL. V. AUTOZONER$ LLC, ET AL;



                           CIVIL CASE COVER SHEET ADDENDUM AND
                                   STATEMENT OF LOCATION
             (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
              This form la required purcuentto Local Rub 2.3 in ell new civil este filings in the Los Angabs Superior Court.



     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010),find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

     Step 2:In Column 8,check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C. circle the number which explains the 'prison for the courtfiling location you have
             chosen.
                                      Applicable Reasons for Choosing Court Filing Location(Column C)

1. Class actions must be Sad in the Stanley Mosk Courthouse, Central District,     7. Location ?Awe petitioner realties.
2. Permis.sive filing in central &strict                                           8. Locetion wherein defendamirespondentfunctions
3. Location varftl use of wool arose.                                              8. Location where ono or more ofthe partied reside,
4. Si/endear/ paconaliMury filing in North District.                             10. Location of Labor Commissioner Office.
                                                                                 it Mandatory filing location(Nub Cases- unlawful detainer, limited
6. Location where perform:nee required or defendant resides.                     non-collection, limited collection, or personal injury).
6. Loettiori of property or pcnnenentlygeregee vehicle.



                              A                                                              e                                                     '-
                             , • .,
                             .                                                    kC.,3k:k   C.:1.1`::
                                                                                                    . ,7er., $




                          Auto.(22)              0 A7100 Motor Vehicle - Persons{ Injury/Property Damage/Wrongful Death                 1.4. 11

                   Uninsured Motorist(46)        0 A7110 Personal Injory/Proivrty DernagetWrongful Desth - Unircurod Motorist           1, 4, 11
                                                                                                                                                    '.I01.81.11•1••••••4011.



                                                 0 A6070 Asbestos Property Damage                                .                      1, 11
                        Asbestos(04)
                                                 0 A7221 Asbestos - Personal initrry/Wrorvaful Death                                    1,11

                    Product Liabtlity(24)        0 A7260 ProductUability(not asbestos or toxic/environmental)                           1,4,11

                                                 0 A7210 Medieat Malpractice - Physicians& Surscons                                      1,4, 11
                   Medical Malpractice(45)                                                                                              1,4,11
                                                 0 A7240 Other Professional Health Care Malpractice

                                                 0 A7250 Premises Liability (e.g,,,ea,and fall)                                         1,4, 11
                       Ottler Pummel
                       inlury Property           0 A7230 Intentional Bodily injttry/Property DamegoivVrongfulDeath (e.g.,
                                                      - assault, venal:sal,etc.)                                                        1,4. 11
                      Dcmcgo Wrtutgful
                         Death (23)                                                                                                     1.4,11
                                                 Cl A7270 inteMionalintittitm of Ernotionel Distress
                                                 ri A72200 Other PersonalInjury/ProPertY balrictlefWronctrill Death                     . 1,4,11
                                                                                                                                    _




  LACIV 103(iltv 2/18)                         CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3
  LASC Approved 03-04                             AND STATEMENT OF LOCATION                                                          Page 1 of4


                                                                                                                     Attachment A - Page 000070
    Case 2:22-cv-00280-GW-AS Document 1-1 Filed 01/13/22 Page 59 of 63 Page ID #:73


etcrn                                                                                                          CAM tax=
         CHABELA,ET AL. V. AUTOZONERS LLC, ET AL.

                               A                                                                                                        i
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                  Stglincoo Tort(07)                   0 A6020 Other CorrunareiriliBusinoss Tort not fratid/Orteen of =btu)                 i, 2,3            '

                    CM Righta(08)                      0 A6005 CM Rights/Discriminotion                                                     1,2,3

                    Defamation(13)                     0 A6010 Defamation(slender)libol)                                                    1, 2,3
                                                                                                                                                          ----,
                          Freud(16)                     A A8013 Fraud(no contract)                                                          1, 2,3

                                                       0 A6017 Legal Malpractice                •                                           1, 2,3
           Professional Negligence(25)
                                                       •0 A6060 Other Proftwtiortnt Malpractice(not medicl!or legril)                       14 2, 3

                          Other OS)                     Cl A6025 Other Non-Pert°nalinjury/Proporty Domage tort                              1,2,3

             Wrongful Termination(36)                  • t3 A6037 Wrongful Termination    -                                                 1,2,3

                                                       0 A6024 Other Emptoyment Complaint Cann                                              1, 2, 3
               Other Enigoyettent(16)
                                                       0 A6109 Labor Commissioner Appel:Is           •                                      10
                      .r.
                                                                                                                                        k .
                                                       0   A6004 Breach Of Rerttatrlease i,tntract(not un:cWfUl Otis:14W or wrongful     2,6
                                                                 eviction)
           Brooch of Centred,Wormnty                                                                                                        Z6
                      (00 .                            0 A6008 Contract/Warranty Breach •••Soller Plaintiff-0o froutlimiligence)
               (not bloom(*)                                                                                                                1, 2,5
                                                       0 AS010 Negligent Breath of ControciNvarranty(no fraud)
                                                       0 A6028 Other amach of ContraCtMlarroniy(not fraud or nagligento)                    1,2,5

                                                       0 A8302 Collections Case-Scilor Plaktiff                                             5,6, 11
                    Collections(03)
                                                       0 • A6012 Other Promissory NotolCollections Case                                     5,11
                                                       0 A6034 Collections; Citte-Purthated Debt(Chergot Off Consumer Debt              .6,0, 11
                                                               Purchased on or after ,Jortuary 1,2014)
              Insurance Coverage(18)                   0 A6015 Insurance Coverage(not complex)                                              1, 2,6,8

                                                       0 A6009 Contractual Freud                                                            1,2, 3,6
                 Other Contract(37)                    0 A6031 Tonlousinterference                              .,                          1,2, 3,5
                                                       0 A6027 Other Contrarl.DispOte(not breochfinsumne.effraudinegllgenee)                1,2,.3, 8,9
                                                                                                                                            ---
              Emir'"' t D°11/tlinnnvcrte               0 A7300 Eminont DomoirtiCondemnation-"---"v Number of paresis                        2,8
                Condommotien(14)

    a           WrongfUl Eviatiort(33)                 0 A6023 WtOnyful Eviction Cato .                                                     2,6

                                                       0 A8018 Mortgage Foreclosure                                                         2,6
              Ott= keel Property(26)                   0 A6632 Quiet "rifle                                                                 2,6
                                                       0 A6050 Other Real Property(not eminent domain,)andlord/talent,foreclosure)          2,6

         -6:-ILI;v:11/1      1i
                              :
                              6 : r2rnillercid CI A6021 Unlawful Detainer-Cornmerolel(not drugs or wrongful cnifction)
                                ::'                                                                                                         6,11
    0                       (31)
           Unlawful Detalnor-Resldential ci A6029
                      (32). •.•                   LintawfulDetainer-Resicsontial„(not drugs orwrongfyi eviction)                            6,11
                UnlawfulDotairtst,
              po, -Foredootro(34)        0 A602DF Unlawful Detairm-Post-Foreclasure                                                         2,8„ 11

   A       Un!awfut.Dotoinor-Onvo(38)                  0 A6022 Unlawful Detainer-011103                                                     2,0, 11


 LAW 100(Rev 2118)                                     CIVIL CASE COVER SHEET ADDENDUM                                                 L0001 kUlo 2.3
LASC,Approved 03-04                                       AND STATEMENT OF LOCATION                                                         Pew)2 of4



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EF.f_tR7 TITLE                                                                                            CASE MAGER
                 CHABELA,ET AL V. AUTOZONERS LLC, ET AL
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                              '," & •:,sil'( Mitst Aheet                                    Type
                                                                                          ic, A nrey or
                                                                                                                                 '
                          Asset Forfeiture(05)             0 A8108 Med Forfeiture Case                                            2, 3,6

                        Patton re Arblittlon(11)           0 A6115 Petition to Compel/ConCrniNeectoArbitratiOn                      2,5
                  r
                                                           0 A8161 Wilt Mminintrctivo Mandamus                                      2.8
                          Writ of Mandate(02)              0 A8152 Writ - Mandamus on Limited Court Cape Matter                     2
                                                           0 A8183 Writ - Other Limited Court Case Reikvi                           2

                        Other Judicial Review(30)     0 A6150 Other Writ /Judicial Review                                           2,8
                                                                                       -                    -                     "
                                                                                                                                  ---
                      Antitrust/I-redo Regulation(03) 0 A6003 Antitrust/Trade Regulation                                           1, 2,8

                        Construction Defect(10)            0 A8007 Construction Defect                                               1, 2,3

                       Claims invoiving Ma= Tort           0 A8008 Claims Involving Maas Tort                                       1,2,8
                                 (40)

                        SCCUMV3Litigaitan(28)              0 A8035 Securities Litigation Coe,*                                      1,2,8

                                  Toxic-Tell               0 A6036 Toxic Tort/Environmentel                                         1,2, 3,8
                              Environmental(30)

                       111-rcnc° Ccvfarr4 Claims
                         from Compiex Coco(41)             0 A6014 insurance Cownoge/SubrogatiOn(CoMPLIXcase onl),
                                                                                                                 )                  1,2,5.8

                                                           0 A8141 Sister State Judgment                                            2.5, 11
                                                           0 A8180 Abstract of Judgment                                             2,6
                                 Enforcement                CI A8107 Confession of Judgment{non-dornestit rotations)                2,9
                               of Judgment(20)             0 A6140 Administrative Agency Award (not unpaid taxes)                   2,8
                                                           0 A6114 PetitionrCertitis=tefor Enky of judgment on Unpaid Tax           2,8
                                                           0 A8112 Other Enforcement of Judgment Case                               2,8,9
                       - -- --- ---
                               RICO(27)                    0 A6033 Racketeering(RICO)Case                                           1, 2,8
                                                                                                                                                   .-   ,
                                                           0 A6030 Declaratory Relief Only         .                                1,2,8

                           Other Compb1nta                 t3 A8040 Iniunetivv ReliefOnly(not derricatidllaressmard)                2,8
                       (Not SP=IrrdAb°")(42)               Li A6011 Ow:CornMeretal Compietrit Ccr-o
                                                                                                 . (non toilinon-crorriplor)        1,2,8
                                                           0 A8000 Other Civil CoMplaint(nion-tortinon.Compl.Nr)                    1, 2,8
                 ,                                                                                                                                 -
                  Pannsiettl)CalINgteon                    13 A8113 pertnersivp and corporate Governance Caro                       2,8
                     GOVtin3nCe(21)

                          •                                0 A6121 Civil Harassment                                                 2.3.9
                                                           0 A8123 Workplace Hanietment                                             2, 3,9
                                                           0 A8124 treeriOependent Adult Abuse Case                                 2,3,9
                           Other Petition:1(Not
                                -ti Above)(43)
                          SpteilL                          0 A0190 Oection Contoot                                                  2
                                                           0 A8110 Petition for Chengo of Name/Change of Gender                     2.7
                                                           0 A8170 Peon for RaIlrom Late Odin LaW                                   2..3. A
                                                           0 A8100 Other Civil Petition                                             2.9




 LAM/ 100(Rev 2116)                                        CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2.3
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 SHORT TITLE                                                                         cAse NUMBER
               CHABELA,,ET AL. V. AUTOZONERS LLC, ET AL.
Stop 4: Statement of Reason and Address: Check the appropriate boxesfor the numbers shown under Column C for the
        type of action that you have selected. Enter the address wtilch is the basis for the filing location, including zip code.
       (No address required for class action cases).
                                                               ;ADDRESS:     •
   ROAM*                                                       13200 Osborne St.
    111.1'12.0 3.04.C15.00.C17.        8„0 9.0 10.011.
   aTY                                  STATE:     ZJP 000E
   Pacoima                              CA        91331
Stop 6: Certification of Assignment: I certify thatthis case is property filed in the Central                        District of
          the Superior Court of California, County of Los Angeles fCode Cly. Proc:,§392 etseq., and Local Rule 2.3(a)(1)(E)).
  Dated: December 2,2021
                                                                                 (SIGNATURE OFAT1ORu   LN    Tyj
  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:
      1. Original Complaint or Petition.
      2. If filing a Complaint,a completed Summonsform for issuance &y.the Cleik.
      3. Civil Case Cover Sheet, Judicial Councilform CM-010.
      4. Civil Coco Cover Shoot Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04(Rev.
         02/16).
      5. Payment In full ofthe filing fee, unless there is court orderforimaiver, partialor scheduled payments.
      6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiffor petitioner is a
         minor under 18 years of ego will be required by Court in order to issue a summons.
      7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint,or other initiating pleading in the case.
  LAM/109(Rev 2/10)                   CIVIL CASE COVER soger ADDENDUM,                                        Local Rule 2.3
  LAse Ao9rOved °M4                      AND STATEMENT OF LOCATION                                               Page 4 of 4
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                                                                                    '

                                                                                                                 Reserved for Clerk's He Stamp
          -      SUPERIOR COURT OF CALIFORNIA .̀.7,: -                                  7--.' r ;1;
                                                                                                  .-

                    COUNTY OF LOS ANGELES     - .                                                - .•
  COURTHOUSE ADDRESS:
                                                                                                                          FILED
 Chatsworth Courthouse                                                        -     •                .          Skootior WM of Caktria
 9425 Penfield Avenue, Chatsworth, CA 91311                                                      •                County Of LOS Anglia&
                                                                                                                      12/02/2021
                   NOTICE OF CASE ASSIGNMENT                                                             shad'R CM%Emma/it Ofiter i fieix etCouti
                                                                                             •                           M. yarga5               Dewy
                        UNLIMITED CIVIL CASE                        ..-                                   BY

                                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below:            21CHCV00918

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                  .       , ASSIGNED JUDGE                            DEPT         ROOM
                                                                          ,.• •       ,   .•••• •
   1     Stephen P. Pfahler                 F49                                         i •,,




                                                                                                  '

    Given to the Plaintiff/Cross-Complainant/AttOrney of Record •     Sherri R. Carter, Executive Officer 4clerk of court
    on 12/03/2021                                                                 By M. Vargas                                              , Deputy Clerk
              (Date)
LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE •
LASC Approved 05/06

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                            -     INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions'of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint May be filed by anY party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE                                             ••               .
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury...verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least.five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at theStanleyMosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge,of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it Will be
randomly assigned to a complex judge at the designated complex cburthouse. .If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.    '         , , ..• .




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06

                                                                                             Attachment A - Page 000075
